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1                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
2

3       UNITED STATES OF AMERICA,
                                                              Criminal Action
4                     Plaintiff,                              No. 1: 21-399
5               vs.                                           Washington, DC
                                                              February 14, 2024
6       ROMAN STERLINGOV,
                                                              9:41 a.m.
7                   Defendant.
        __________________________/                           MORNING PROCEEDINGS
8

9                             TRANSCRIPT OF JURY TRIAL
                       BEFORE THE HONORABLE RANDOLPH D. MOSS
10                          UNITED STATES DISTRICT JUDGE
11

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1                                P R O C E E D I N G S
2                   THE COURT:    All right.    Anything to raise before we

3       bring in the jury?

4                   MR. BROWN:    Not from the government, Your Honor.

5                   MR. EKELEND:    Just briefly, Your Honor.         I just

6       wanted to just update the Court on Mr. Sterlingov's access to

7       his laptop.

8                   THE COURT:    Can we do that during a break rather than

9       keeping the jury waiting?

10                  MR. EKELEND:    Yes, absolutely.

11                  (Jury in at 9:42 a.m.)

12                  THE COURTROOM DEPUTY:      Criminal case number 21-399,

13      United States of America versus Roman Sterlingov.

14                  Would counsel please approach the podium and state

15      your name for the record, starting with government counsel.

16                  MR. BROWN:    Good morning, Your Honor.         AUSA

17      Christopher Brown for the government.          And with me at counsel

18      table are C. Alden Pelker and Jeffrey Pearlman also for the

19      government.

20                  THE COURT:    All right.    Good morning.

21                  MR. EKELEND:    Good morning, Your Honor.         Tor Ekeland

22      and Michael Hassard for Defendant Roman Sterlingov, who is

23      present in court.

24                  THE COURT:    All right.    Good morning.

25                  So the government can recall its witness.
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1                    MR. BROWN:     The government recalls Matthew Price.

2                         MATTHEW PRICE, previously sworn.

3                    THE COURT:     All right.    You may proceed when you are

4       ready.

5                              DIRECT EXAMINATION CONTINUED

6       BY MR. BROWN:
7       Q.    Good morning, Mr. Price.

8       A.    Good morning.

9       Q.    So I would like to pick up right where we left off.               Did

10      you also -- in the course of your investigation, did you review

11      a Twitter account associated with Bitcoin Fog?

12      A.    Yes, I did.

13      Q.    Did you recall the Twitter handle or username of that

14      account?

15      A.    It was @BitcoinFog.

16      Q.    Did you review particular tweets from this account?

17      A.    Yes.

18      Q.    Did you take screenshots of those tweets?

19      A.    I did.

20      Q.    I would like to direct your attention to Exhibit 10.              All

21      right.    If we could pull that up.         I am showing you Exhibit 10.

22      Do you recognize this exhibit?

23      A.    I do.

24      Q.    And what do you recognize this to be?

25      A.    This is a screenshot taken from the Bitcoin Fog Twitter
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                              DIRECT EXAMINATION OF MR. PRICE                   6

1       feed.

2       Q.    And is this one of the screenshots you took?

3       A.    Yes.

4       Q.    I would like to direct your attention to Exhibit 11.              Do

5       you recognize Exhibit 11?

6       A.    Yes, I do.

7       Q.    What do you recognize this to be?

8       A.    It is a series of two tweets taken -- a screenshot of two

9       tweets taken from the Bitcoin Fog Twitter feed.

10      Q.    Is this a screenshot that you took?

11      A.    Yes.

12      Q.    Are Exhibits 10 and 11, are these fair and accurate copies

13      of the Twitter screens as you took the screenshots?

14      A.    Yes.

15                   MR. BROWN:     The government moves to admit and publish

16      Exhibits 10 and 11?

17                   THE COURT:     Any objection?

18                   MR. EKELEND:     Yes, Your Honor; hearsay.

19                   THE COURT:     Exhibits 10 and 11 are admitted and may

20      be published to the jury.

21                   (Whereupon, Government Exhibit Nos. 10, 11 were
22      admitted.)
23                   MR. BROWN:     All right.    And directing your attention

24      back to Exhibit 10.

25                   Oh, the government moves to publish.
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                              DIRECT EXAMINATION OF MR. PRICE                   7

1                    THE COURT:     I said you could.

2                    MR. BROWN:     Yes.   Thank you, Your Honor.

3       BY MR. BROWN:
4       Q.    Could you point out the date of this tweet?

5       A.    Yes.   The date is 13 September 2017.

6       Q.    And does -- could you describe what is on this tweet?

7       A.    Yes.   The tweet contains a photo of what appears to be the

8       headquarters of the Internal Revenue Service here in Washington

9       and link to a news story in CoinDesk.com about the IRS using

10      Bitcoin tracking software.

11      Q.    Does the Twitter handle @BitcoinFog, does that make a

12      statement about this article?

13      A.    Yes, it does.

14      Q.    And what is that statement?

15      A.    It says, "IRS has been shown to actively track unmixed

16      transaction on the Bitcoin blockchain."

17      Q.    And then turning to Exhibit 11.           Could you point out the

18      dates on these tweets?

19      A.    These both appear to be June 11th.

20      Q.    And I see that -- is there a year specified on these

21      tweets?

22      A.    I can't see it on the screen, but as I recall it was in

23      2019.

24      Q.    Could you describe in general if -- what does appear at

25      the bottom of this tweet?
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1       A.    This has a series of two tweets.            The one on the bottom

2       includes a reference to a press release from Europol, the

3       European police agency, referencing a multimillion dollar

4       cryptocurrency laundering service being taken down by the Dutch

5       Fiscal Information Investigation Service.

6       Q.    Does the Twitter account @BitcoinFog make any statements

7       about that article?

8       A.    Yes.   It has two statements regarding that article.

9       Q.    And which of those statements is the first?

10      A.    On the bottom, where it says one of two and it appears to

11      be a quote from the linked article.

12      Q.    Could you go ahead and read the statement by the Bitcoin

13      Fog Twitter handle starting with the quoted quotation there?

14      A.    Yes.   "The Dutch FIOD," F-I-O-D, "has gathered information

15      on all of the interactions on this platform in the past year.

16      This includes IP addresses, transaction details and Bitcoin

17      addresses and chat messages."

18      Q.    And then does the message continue in the top tweet?

19      A.    It does.

20      Q.    Could you go ahead and read that message?

21      A.    "This information will now be analyzed by the FIOD in

22      cooperation with Europol and intelligence packages will be

23      shared with other countries.           This is why you need to use only

24      Tor based mixing service.        Such a surprise."

25      Q.    Mr. Price, are you familiar with FIOD?
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                              DIRECT EXAMINATION OF MR. PRICE                   9

1       A.    I am.

2       Q.    You have worked with FIOD?

3       A.    Yes, I have.

4       Q.    Describe to the jury what is the Dutch FIOD?

5       A.    The Dutch FIOD is very similar to the Internal Revenue

6       Service Criminal Investigation Unit, particularly works on

7       financial and cyber-investigations in the Netherlands.

8       Q.    And we can close down those exhibits.

9             Mr. Price, during the course of your investigation, did

10      you conduct undercover transactions with Bitcoin Fog?

11      A.    I did.

12      Q.    Where did this activity take place?

13      A.    Here in Washington, DC.

14      Q.    And why did you do it here in Washington, DC?

15      A.    A number of reasons.       One, my assigned office was at the

16      IRS-CI Washington, DC field office on First Street Northeast.

17      And the particular office space that I worked in was equipped

18      with covert internet to allow for these type of investigations.

19      Q.    Could you walk us through the process at a high level of

20      how you go about conducting an undercover transaction on a

21      hidden service like this?

22      A.    Certainly.      All law enforcement agencies have protocol in

23      place to govern these operations and set them up.               For those

24      reasons, I created a proposed plan, sought approval from

25      internal supervisors and individuals involved in the undercover
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1        program at IRS.      Once the operation was approved, I obtained

2        IRS covert Bitcoin, which is owned -- it is government funds,

3        but it is maintained in a manner not linked to the government

4        so as to not reveal law enforcement involvement in an

5        operation.    Once that was obtained, I created a series of

6        one-time use or limited use public Bitcoin wallets on publicly

7        available Bitcoin websites that would hold the covert

8        government funds.      And I then conducted a series of test

9        transactions with the site.

10       Q.    So I'd like to talk about a few specific transactions.

11       And the first one I want to direct your attention to is

12       September of 2019.      What if anything happened in September of

13       2019?

14       A.    In September of 2019, beginning on about September 11th,

15       2019, I accessed the Bitcoin Fog hidden services site through

16       the Tor Browser and conducted test transactions using covert

17       funds with that site.

18       Q.    And during the September 11th and moving on from there

19       transaction, where specifically were you located?

20       A.    At the IRS-CI field office here in Washington, DC.

21       Q.    During this process, did you take screen captures?

22       A.    Yes, I did.

23       Q.    And were those still images, movies or some combination?

24       A.    Both.   I took still images as well as screen recordings.

25       Q.    So starting from the beginning, how did you find the
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                              DIRECT EXAMINATION OF MR. PRICE                   11

1        Bitcoin Fog website?

2        A.    I refer to the previous day's testimony I where had the

3        BitcoinTalk.org forum.       I accessed the most recent version of

4        that and used the hidden services site link to access this

5        page.

6        Q.    Did you use any special software to access the hidden

7        services page for Bitcoin Fog?

8        A.    I did.   I used a program called Silo, which has built in a

9        Tor browser capability as well as screen recording and screen

10       images capabilities.

11       Q.    And, Mr. Price --

12                  MR. BROWN:     Your Honor, may I approach the witness?

13                  THE COURT:     You may.

14       BY MR. BROWN:
15       Q.    So I handed you a binder that contains some of the

16       Government Exhibits.      I would like to direct your attention --

17       if you could, review Exhibit 201A, as in alpha.

18       A.    Okay.

19       Q.    Do you recognize Exhibit 201A?

20       A.    I do.

21       Q.    And what do you recognize this to be?

22       A.    This is the log-in page, landing page of the Bitcoin Fog

23       hidden services site.

24       Q.    Did you create this image?

25       A.    I did.
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                              DIRECT EXAMINATION OF MR. PRICE                   12

1        Q.    And does this image fairly and accurately show the log-in

2        page at the time that you accessed it?

3        A.    It does.

4                     MR. BROWN:   The government moves to admit and publish

5        Exhibit 201A?

6                     THE COURT:   Any objection?

7                     MR. EKELEND:    No objection, Your Honor.

8                     THE COURT:   Exhibit 201A is admitted and may be

9        published to the jury.

10                    (Whereupon, Government Exhibit No. 201A was
11       admitted.)
12       BY MR. BROWN:
13       Q.    Mr. Price, could you point out the different features of

14       this log-in page or splash page?

15       A.    Yes.   On the upper left-hand side, there is a logo that

16       appears to be two coins with a Bitcoin logo on them.

17       Immediately next to that are the words Bitcoin Fog company.                 In

18       the upper right is what appears to be a status reminder showing

19       whether a user is logged into the page or including a link to

20       register.    In the center, is a log-in panel to enter a username

21       or password.     Below that is a link, the word here, register, if

22       you do not already have an account.          And at the bottom are a

23       series of hyperlinks to four different pages.

24       Q.    Is this the page that you would arrive at if you typed in

25       the Tor address for Bitcoin Fog?
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                              DIRECT EXAMINATION OF MR. PRICE                   13

1        A.    Yes.

2        Q.    Now, did you have to create an account?

3        A.    Yes, I did.

4        Q.    What steps did you have to take to create an account on

5        Bitcoin Fog?

6        A.    The first step was to click on the registration link,

7        register here at the bottom of the center of the screen.

8        Q.    And then after you click that link, were you required to

9        enter any information?

10       A.    Yes, I was.

11       Q.    And what information were you required to enter?

12       A.    I just had to create a username and a password.

13       Q.    Was there any account verification process?

14       A.    No.

15       Q.    Did you have to provide your true name?

16       A.    No.

17       Q.    All right.     So we are going to show you just the very

18       beginning screen of Government Exhibit 201Q.            It is a -- I

19       think there is a placeholder in your binder.

20             So, Mr. Price, do you see on the screen in front of you

21       Exhibit 201Q?

22       A.    I do.

23       Q.    Do you recognize this exhibit?

24       A.    Yes.

25       Q.    And what do you recognize this exhibit to be?
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                              DIRECT EXAMINATION OF MR. PRICE                    14

1        A.    This is a screen recording of my interactions with the

2        Bitcoin Fog hidden services site.

3        Q.    And did you create the screen recording yourself?

4        A.    I did.

5        Q.    And have you reviewed this screen recording before

6        testifying here today?

7        A.    Yes, I have.

8        Q.    Does this recording fairly and accurately represent the --

9        what went on on your screen when you accessed Bitcoin Fog?

10       A.    Yes, it does.

11                  MR. BROWN:     The government moves to admit and publish

12       Exhibit 201Q.

13                  THE COURT:     Any objection?

14                  MR. EKELEND:      No objection, Your Honor.

15                  THE COURT:     Exhibit 201Q is admitted and may be

16       published to the jury.

17                  (Whereupon, Government Exhibit No. 201Q was
18       admitted.)
19       BY MR. BROWN:
20       Q.    So I am going to start playing this for you and I may ask

21       some questions.      We may pause and talk through it.

22                  (Video played.)

23       BY MR. BROWN:
24       Q.    So, Mr. Price, we have paused here.             Could you describe

25       what is shown on the screen here?
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                              DIRECT EXAMINATION OF MR. PRICE                    15

1        A.    Yes.   So beginning the video, I clicked on the

2        registration link, which took me to this page, register new

3        account.     And at this point, I am preparing to create a

4        username and password to access this site.

5        Q.    And is there text beneath the heading, register new

6        account?

7        A.    Yes.

8        Q.    Could you read those two short paragraphs of text?

9        A.    "Registration is free.         You will be able to deposit and

10       withdraw Bitcoins when you are registered.             As an anonymous

11       service, we do not collect any digital information of value

12       besides a username and a password.          A down side of this is that

13       you will have to keep track of your password.              You will not be

14       able to recover it."

15       Q.    Are there fields beneath that?

16       A.    There are.

17       Q.    What are those fields?

18       A.    There is field, choose a username.           Choose a password,

19       password confirmation field and a fourth field requiring a

20       security text.

21       Q.    And could you point out to the jury where is that security

22       text that you are supposed to enter?

23       A.    The security text is the series of letters overlaid of a

24       picture of a cat.

25       Q.    Let's see if this works.
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                              DIRECT EXAMINATION OF MR. PRICE                   16

1                     (Video played.)

2        BY MR. BROWN:
3        Q.    If we could pause there.       So now what have you done in the

4        video?

5        A.    I created a username, Fatkitty11.

6        Q.    I'm sorry to interrupt.        What was the username again?

7        A.    Fatkitty11.

8        Q.    Was there any reason you chose the username, Fatkitty11?

9        A.    I was looking at the picture on the screen and thought it

10       was appropriate.

11       Q.    Let's go ahead and finish watching the video.

12                    (Video played.)

13       BY MR. BROWN:
14       Q.    We can pause -- we can stop there.          So at this point, have

15       you created a new account for yourself?

16       A.    Yes, I have.

17       Q.    Do you have any balance on that account at this point?

18       A.    No.

19       Q.    Directing your attention in your binder to Exhibit 201B.

20       And we can close this exhibit for the -- do you see

21       Exhibit 201B?

22       A.    I do.

23       Q.    Do you recognize that?

24       A.    Yes.

25       Q.    What do you recognize it to be?
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1        A.    This is a screenshot I took of the welcome page to Bitcoin

2        Fog right after I created an account.

3        Q.    And is that a fair and accurate representation of the page

4        as you viewed it that day?

5        A.    Yes.

6                     MR. BROWN:   Government moves to admit and publish

7        201B?

8                     THE COURT:   Any objection?

9                     MR. EKELEND:    No objection, Your Honor.

10                    THE COURT:   Exhibit 201B is admitted and published to

11       the jury.

12                    (Whereupon, Exhibit No. 201B was admitted.)
13       BY MR. BROWN:
14       Q.    And, Mr. Price, could you just explain what is shown on

15       the screen?

16       A.    Yes.   So after I created an account, this is the link I

17       was taken to, the welcome page.         And it kind of explains

18       information about how to use Bitcoin Fog.

19       Q.    All right.     Now that you have created an account -- and we

20       can close this exhibit.

21             Now that you have created an account, what was the next

22       action that you took?

23       A.    The next action once the account was created was to

24       explore the site just to understand the various pages and how

25       it works.    And then to actually deposit undercover funds into
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                              DIRECT EXAMINATION OF MR. PRICE                   18

1        the platform.

2        Q.    Could you describe step by step how you went about

3        depositing funds into Bitcoin Fog?

4        A.    Yes.    So I clicked on the link for the deposit page of the

5        site, reviewed the instructions for how to make a deposit.

6        Once I have reviewed that and I saw there was a Bitcoin

7        address, a deposit address listed, using a previously created

8        covert wallet off platform, I then sent a portion of the

9        Bitcoin I had received from the IRS Special Investigative

10       Techniques platform, sent it into the Bitcoin Fog site using

11       the deposit address listed on the page.

12       Q.    So I'd like to direct your attention to Exhibit 201F in

13       your binder?

14                    THE COURTROOM DEPUTY:      I'm sorry.     Did you say F?

15                    MR. BROWN:   Yes.

16                    THE COURTROOM DEPUTY:      Okay.

17       BY MR. BROWN:
18       Q.    Do you recognize Exhibit 201F?

19       A.    I do.

20       Q.    What do you recognize that to be?

21       A.    This is a screenshot I took of the deposit page from the

22       Bitcoin Fog hidden service site.

23       Q.    Does that screenshot fairly and accurately represent the

24       page as you viewed it that day?

25       A.    Yes.
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                              DIRECT EXAMINATION OF MR. PRICE                   19

1                     MR. BROWN:   The government moves to admit and publish

2        Exhibit 201F?

3                     THE COURT:   Any objection?

4                     MR. EKELEND:    No objection, Your Honor.

5                     THE COURT:   Exhibit 201F is admitted and may be

6        published to the jury.

7                     (Whereupon, Exhibit No. 201F was admitted.)
8        BY MR. BROWN:
9        Q.    Mr. Price, can you point out the relevant features of this

10       exhibit here for the jury?

11       A.    Yes.   Starting on the top right-hand corner, there is what

12       I would determine a status bar showing that I am logged in as

13       that previously described username, my current account balance

14       and links to various pages on the site.

15             This particular view is of the deposit page.             The first

16       kind of important piece of information is my current account

17       balance shown as 0.0 Bitcoin.        There is a series of

18       instructions kind of explaining minimum withdrawal amounts, how

19       much I'd have to deposit and cost for Bitcoin transactions.

20       And the next key feature in the center is a Bitcoin deposit

21       address beginning with 34pQQK.        And that is the deposit address

22       that I would use to deposit Bitcoin into this site.

23       Q.    Mr. Price, we are going to attempt to zoom in on the

24       middle of that page.      Could you point out the deposit address

25       here?
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                              DIRECT EXAMINATION OF MR. PRICE                   20

1        A.    Yes.    It is in bold text beginning with 34pQQK.

2        Q.    And, again, could you explain exactly what is this

3        address?     Who does it belong to?

4        A.    This is a deposit address generated by the Bitcoin Fog

5        service so that a user can send Bitcoin to this service.

6        Q.    And does that Bitcoin address look familiar?

7        A.    Yes, it does.

8        Q.    Why does it look familiar?

9        A.    That is the address I sent funds to.            And also in my

10       testimony yesterday, the address that we reviewed from an open

11       source blockchain explorer.

12       Q.    Now, I would like to direct your attention to Exhibit

13       201S.   I think there is a placeholder in your binder, so we

14       will pull it up on screen.       Do you recognize this exhibit?

15       A.    I do.

16       Q.    And what do you recognize it to be?

17       A.    This is a screen recording I took during the undercover

18       operation.

19       Q.    Have you previously reviewed this screen recording?

20       A.    Yes, I have.

21       Q.    Does this screen recording fairly and accurately represent

22       the actions you took on that date?

23       A.    It does.

24       Q.    On Bitcoin Fog?

25       A.    Yes.
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                              DIRECT EXAMINATION OF MR. PRICE                   21

1                     MR. BROWN:   The government moves to admit and publish

2        201S.

3                     THE COURT:   Any objection?

4                     MR. EKELEND:    No objection, Your Honor.

5                     THE COURT:   Exhibit 201S is admitted and may be

6        published to the jury.

7                     (Whereupon, Exhibit No. 201S was admitted.)
8        BY MR. BROWN:
9        Q.    Let's go ahead and play.

10                    (Video played.)

11       BY MR. BROWN:
12       Q.    Actually, let's pause here.        So, Mr. Price, what website

13       are we on now?

14       A.    This is the website for Blockchain.com.

15       Q.    Why are you on the website for Blockchain.com?

16       A.    Blockchain.com was a wallet provider for free wallets,

17       software wallets.      So I previously created a wallet on this

18       page to use in this operation.

19       Q.    So it is fair to say this is the starting point for those

20       funds?

21       A.    Yes.

22       Q.    Let's go ahead and continue.

23             Pause here.     Mr. Price, I see that you just highlighted

24       the deposit address.      Why are you doing that?

25       A.    I am highlighting it so that I can copy it and paste it
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                              DIRECT EXAMINATION OF MR. PRICE                    22

1        into the destination field for my Blockchain.com wallet.

2        Q.    Could we pause there.      Mr. Price, is there any audio to

3        these videos?

4        A.    There is not.

5        Q.    How much Bitcoin are you sending?

6        A.    Approximately $250 US dollars worth at the time of this

7        transaction, about 0.025 Bitcoin.

8        Q.    And I see that here you entered in text in a field under

9        description.    Could you describe what that text is?

10       A.    Yes.    The Blockchain.com has a feature where you can put a

11       description in your transaction history.              So if you want to

12       remember what you sent Bitcoin for, I guess I was in a good

13       mood, so I wrote "I love Bitcoin."

14       Q.    Does that text travel with the transaction, so if you were

15       sending this transaction somewhere else, would they see that

16       text?

17       A.    No, they would not.      It is internal to this platform.

18       Q.    Okay.   Go ahead and continue.

19                    (Video played.)

20       BY MR. BROWN:
21       Q.    Pause there.     What did you just do at the bottom of that

22       window there?

23       A.    I selected a priority -- what blockchain considers a

24       priority fee.    So all Bitcoin transactions require verification

25       on the blockchain.      And the way that is done is through the
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 23 of 123
                              DIRECT EXAMINATION OF MR. PRICE                     23

1        miners -- Bitcoin miners and they compete for fees.              So by

2        selecting a higher fee, in this case around 53 cents, I just

3        increased the likelihood the transaction would be verified

4        faster.

5        Q.    We can continue.

6              And pausing there.      So what has happened now in the video?

7        A.    So I switched between screens just to verify for the third

8        or fourth time that I had the correct deposit address.                 And I

9        then approved the transaction within the Blockchain.com trade

10       function or -- excuse me -- withdrawal function.             And once I

11       did that, this took me to my transaction history.              And it

12       showed that on September 11th, 2019 at 1:48 p.m., I authorized

13       a transaction to send BTC or -- excuse me -- Bitcoin to wallet

14       address beginning with 34pQQK in the amount of approximately

15       $250.

16       Q.    Is there information here about the status of that

17       transaction?

18       A.    Yes.   Slightly above that transaction record there is a

19       box that says your Bitcoin transaction is now pending.

20       Q.    And how long does it usually take for a transaction to go

21       through all of the way?

22       A.    It can depend on how many others are attempting to make

23       transactions at the same time and the amount of the fee.                But

24       anywhere from 30 minutes to a couple of hours.

25       Q.    And we can close that.
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 24 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   24

1              And I'd like to direct your attention in the binder to

2        Exhibit 201J.

3        A.    Okay.

4        Q.    Do you recognize this exhibit?

5        A.    I do.

6        Q.    And what do you recognize it to be?

7        A.    This is a screenshot of the Bitcoin Fog hidden services

8        site deposit page that I took after the transaction on the

9        Bitcoin network was processed, the deposit we just walked

10       through.

11       Q.    Does this exhibit fairly and accurately depict the screen

12       as you saw it that day?

13       A.    It does.

14                    MR. BROWN:   All right.     The government moves to admit

15       and publish Exhibit 201J.

16                    THE COURT:   Any objection?

17                    MR. EKELEND:    No objection, Your Honor.

18                    THE COURT:   Exhibit 201J is admitted and may be

19       published to the jury.

20                    (Whereupon, Exhibit No. 201J was admitted.)
21       BY MR. BROWN:
22       Q.    Mr. Price, could you point out your balance on this

23       screenshot?

24       A.    Yes.    There are two places on this page where it is shown,

25       again in the top -- what I described as the status bar, it
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24    Page 25 of 123
                              DIRECT EXAMINATION OF MR. PRICE                    25

1        shows right after my log-in name, the number 0.02425700 BTC,

2        which is my current balance at the time.              And then closer to

3        the middle of the screen, underneath where it says deposit your

4        Bitcoins here, there is another showing of my current available

5        balance again, 0.025 approximately Bitcoin.

6        Q.    Now, is that deposit balance -- is that exactly the same

7        amount of Bitcoin that you sent out of your Blockchain.com

8        wallet?

9        A.    No.

10       Q.    What explains that difference?

11       A.    The Bitcoin Fog service charges a fee and it is the fee

12       that was charged for usage.

13       Q.    And we can close that out.        Directing your attention to

14       the next day, which I guess would be September 12th, 2019.

15       What happened on September 12th, 2019?

16       A.    Again, I access the Bitcoin Fog hidden services site and

17       took some screenshots and as videos of my activities on it.

18       Q.    Did you end up sending money out of Bitcoin Fog on

19       September 12th?

20       A.    I did.

21       Q.    Is the idea that the Bitcoin you are sending out of

22       Bitcoin Fog is not the same Bitcoin that you sent into it?

23       A.    Right.

24       Q.    Directing your attention in your binder to Exhibit 202C.

25       A.    Okay.
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 26 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   26

1        Q.    Do you recognize this exhibit?

2        A.    Yes, I do.

3        Q.    What is it?

4        A.    This is a screenshot taken on or about September 12th,

5        2019 of the Bitcoin Fog hidden services site, the withdrawal

6        page prior to me conducting withdrawal from the service.

7        Q.    And does this exhibit fairly and accurately represent the

8        screen as you viewed it on September 12th?

9        A.    It does.

10                   MR. BROWN:    All right.     The government moves to admit

11       and publish Exhibit 202C.

12                   THE COURT:    Any objection?

13                   MR. EKELEND:     No objection, Your Honor.

14                   THE COURT:    202C is admitted and may be published to

15       the jury.

16                   (Whereupon, Exhibit No. 202C was admitted.)
17       BY MR. BROWN:
18       Q.    Mr. Price, again what page are we on here?

19       A.    This is the Bitcoin Fog hidden services site.

20       Q.    Within that site, what specific page are we at?

21       A.    This is the withdrawal page, allowing me to make a

22       withdrawal from the service.

23       Q.    And could you read what it says on the large text in the

24       middle of the screen?

25       A.    It says, "Send clean BTC from the Fog."
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                              DIRECT EXAMINATION OF MR. PRICE                   27

1        Q.    And then walk us through how you completed this

2        transaction?

3        A.    Certainly.     In the center here there are two boxes.           The

4        first states an amount to withdraw where the user, in this case

5        me, selects how much Bitcoin they would like to withdraw from

6        the site.     In this case I chose to withdraw .02 Bitcoin.            The

7        box immediately below it is a place to enter the address where

8        I would like to send those funds to.          It says Bitcoin address

9        to send funds to.      And I had previously pasted in a wallet

10       address for a second wallet I had created off of the Bitcoin

11       Fog platform.

12       Q.    So I would like to -- we can close that out.             I'd like to

13       direct your attention to, in your binder, Exhibit 202D.

14       A.    Okay.

15       Q.    And do you recognize Exhibit 202D?

16       A.    I do.

17       Q.    What do you recognize it to be?

18       A.    This is the withdrawal confirmation page.            It is a

19       screenshot I took of the withdrawal confirmation page.

20       Q.    Does Exhibit 202D fairly and accurately represent the

21       screen as you saw it that day?

22       A.    It does.

23                   MR. BROWN:    The government moves to admit and publish

24       Exhibit 202D.

25                   THE COURT:    Any objection?
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 28 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   28

1                   MR. EKELEND:      No objection, Your Honor.

2                   THE COURT:     Exhibit 202D is admitted and may be

3        published to the jury.

4                   (Whereupon, Exhibit No. 202D was admitted.)
5        BY MR. BROWN:
6        Q.    Mr. Price, could you walk the jury through this screen

7        here?

8        A.    Certainly.     In the previous screen I had entered the

9        amount I'd like to withdraw, as well as the destination wallet

10       address.   In the center there is a box with the words amount.

11       It says .02.    And below that "to" and a Bitcoin address

12       beginning with 18P10M.       That is the information I previously

13       entered -- or I entered in the previous screen.             And I am now

14       required to enter a security text to confirm this transaction.

15       The security text is in the box below the word security text.

16       It is 3CENT2.    And it is over a picture of what I believe is

17       the same cat from when I created my account, just turned upside

18       down.

19             Once I enter that text, I then am able to click the submit

20       withdrawal button that is on the lower portion of the screen to

21       the right in a gold box.

22       Q.    All right.     We can close that out.       And in your binder, I

23       would like to direct your attention to Exhibit 202E, as in

24       echo.

25       A.    Okay.
     Case 1:21-cr-00399-RDM    Document 278    Filed 03/16/24   Page 29 of 123
                              DIRECT EXAMINATION OF MR. PRICE                    29

1        Q.    Do you recognize 202E?

2        A.    I do.

3        Q.    And what do you recognize that to be?

4        A.    It is a screenshot I took of the Bitcoin Fog hidden

5        services site immediately after approving the withdrawal from

6        the previous exhibit.

7        Q.    Does this screenshot fairly and accurately represent the

8        screen as you saw it that day?

9        A.    Yes.

10                    MR. BROWN:   The government moves to admit and publish

11       Government Exhibit 202E?

12                    THE COURT:   Any objection?

13                    MR. EKELEND:    No objection, Your Honor.

14                    THE COURT:   202E is admitted and may be published to

15       the jury.

16                    (Whereupon, Exhibit No. 202E was admitted.)
17       BY MR. BROWN:
18       Q.    Mr. Price, could you just read the text in the center of

19       the screen?

20       A.    "Payment complete.      Instant payment was completed

21       successfully.    Please wait several minutes for the network to

22       register.     Record of this transaction will be removed from our

23       logs."

24       Q.    We can close that out.         I would like to direct your

25       attention to the next exhibit in your binder, 202F.
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 30 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   30

1              Okay.   Do you recognize that exhibit?

2        A.    I do.

3        Q.    What do you recognize it to be?

4        A.    This is a screenshot I took of the Bitcoin Fog hidden

5        services site, the welcome page after I completed the

6        previously discussed withdrawal.

7        Q.    Does this screenshot fairly and accurately represent the

8        screen as you saw it that day?

9        A.    Yes.

10                    MR. BROWN:   The government moves to admit and publish

11       202F.

12                    THE COURT:   Any objection?

13                    MR. EKELEND:    No objection, Your Honor.

14                    THE COURT:   Exhibit 202F is admitted and may be

15       published to the jury.

16                    (Whereupon, Exhibit No. 202F was admitted.)
17       BY MR. BROWN:
18       Q.    So, Mr. Price, on this screen, where are we at within the

19       Bitcoin Fog site?

20       A.    This is back to the landing page for an account holder.

21       So I had entered my password and this is where I am able to see

22       kind of my current status.

23       Q.    And could you point out for the jury what your current

24       balance is at this point?

25       A.    Yes, in the upper right of the screenshot there is a box
     Case 1:21-cr-00399-RDM    Document 278    Filed 03/16/24   Page 31 of 123
                              DIRECT EXAMINATION OF MR. PRICE                    31

1        with some status information, again showing I am logged in as

2        Fatkitty11.    And immediately next to that is the number

3        0.00425444 BTC, which is my current balance after the

4        withdrawal.

5        Q.    We can close that out.         I'd like to direct your attention

6        to the next exhibit in your binder, which is Exhibit 202G.               Do

7        you recognize that exhibit?

8        A.    I do.

9        Q.    What do you recognize exhibit to be?

10       A.    This is a screenshot I took of a website StrongCoin.com

11       where I previously created a Bitcoin wallet to receive funds

12       from the Bitcoin Fog page.

13       Q.    Does this screenshot fairly and accurately represent the

14       screen as you saw it that day?

15       A.    Yes, it does.

16                   MR. BROWN:    The government moves to admit and publish

17       202G.

18                   THE COURT:    Any objection?

19                   MR. EKELEND:     No objection, Your Honor.

20                   THE COURT:    202G is admitted and may be published to

21       the jury.

22                   (Whereupon, Exhibit No. 202G was admitted.)
23       BY MR. BROWN:
24       Q.    Mr. Price, could you describe what is shown in

25       Exhibit 202G again?
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24    Page 32 of 123
                              DIRECT EXAMINATION OF MR. PRICE                    32

1        A.    Yes.   Again, it is a screenshot of a website

2        StrongCoin.com, which is another free Bitcoin wallet software.

3        I previously created an account on this page to receive funds.

4        And this is a transaction history from that web page showing a

5        transaction that I had made to address 18P10M in the amount of

6        2 Bitcoin -- I am sorry, .02 Bitcoin.

7        Q.    And that Bitcoin address 18P10M, is that an address that

8        we have seen in previous screen shots?

9        A.    Yes.   It is the address I entered into the withdrawal page

10       of Bitcoin Fog.

11       Q.    And we can close that out.        Mr. Price, so in summary,

12       could you just describe the flow of funds on September 11th and

13       12th, 2019?

14       A.    Yes.   After previously receiving IRS controlled funds into

15       the Blockchain.com wallet I had created.              On September 11th, I

16       made a deposit into the Bitcoin Fog platform.              September 12th,

17       I verified the deposit was successful.           On September 12th, I

18       returned to the page and made a withdrawal of approximately .02

19       Bitcoin from the Bitcoin Fog platform into a second wallet I

20       created at StrongCoin.com and verified that transaction was

21       successful.

22       Q.    And after these transactions did IRS-CI review the

23       transactions using the blockchain analysis software?

24       A.    Yes.

25       Q.    And was there any direct connection between your starting
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 33 of 123
                              DIRECT EXAMINATION OF MR. PRICE                     33

1        wallet at Blockchain.com and your ending wallet at StrongCoin?

2        A.    We were not able to link the transactions.

3        Q.    What does that tell you about Bitcoin Fog's functionality?

4        A.    That the service worked.

5                     MR. EKELEND:    Objection.

6                     THE COURT:   What is the objection?

7                     MR. EKELAND:    Calls for speculation.

8                     THE COURT:   Overruled.

9        BY MR. BROWN:
10       Q.    You can answer the question.

11       A.    Yes.   That the service worked.        We were unable to directly

12       link the beginning deposit with the subsequent withdrawal.

13       Q.    Now, directing your attention to November of 2019.               Did

14       you conduct another undercover transaction then?

15       A.    I did.

16       Q.    And what were the basic steps of this November 2019

17       transaction?

18       A.    Similar to the first obtained covert funds from the IRS

19       undercover platform -- the difference this time is I had

20       created previously a user account on a darknet market called

21       Apollon.     I deposited funds into that Apollon account.              I then

22       withdrew funds directly from the Apollon account I had created

23       into Bitcoin Fog.

24       Q.    And could you describe Apollon in a little more detail?

25       A.    Yes.   Apollon was a darknet market that was operational
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 34 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   34

1        around this time, November 2019.         Similar to other darknet

2        markets it used -- it accepted cryptocurrency, primarily

3        Bitcoin, as well as a few other coins.           And that was used for

4        payment to purchase illicit goods, such as drugs, fraud

5        information, stolen personal identifiable information, hacking

6        tools, things of the nature.

7                   THE COURT:     Can you spell Apollon for the benefit of

8        the court reporter?

9                   THE WITNESS:      Yes.    A-P-O-L-L-O-N.

10                  THE COURT:     Thank you.

11       BY MR. BROWN:
12       Q.    Did the Apollon market allow users to load Bitcoin onto

13       their accounts?

14       A.    It did.

15       Q.    Did you set up an account with Bitcoin on the Apollon

16       market?

17       A.    I did.

18       Q.    So I would like to direct your attention to Exhibit 203K

19       in your binder.

20       A.    Okay.

21       Q.    Do you recognize this exhibit?

22       A.    I do.

23       Q.    And what do you recognize it to be?

24       A.    This is a screenshot I took on or about November 18th of

25       2019 of a transaction history page from Apollon market.
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 35 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   35

1        Q.    And does this screenshot fairly and accurately represent

2        the page as you viewed it on that day?

3        A.    It does.

4                     MR. BROWN:   The government moves to admit and publish

5        Exhibit 203K?

6                     THE COURT:   Any objection?

7                     MR. EKELEND:    No objection.

8                     THE COURT:   Exhibit 203K is admitted and may be

9        published to the jury.

10                    (Whereupon, Exhibit No. 203K was admitted.)
11       BY MR. BROWN:
12       Q.    Mr. Price, could you point out what is shown on the screen

13       to the jury?

14       A.    Yes.   Again, this is a screenshot of the Apollon market

15       hidden services site.       On the left-hand side are a number of

16       functions including links to deposit and withdraw various

17       cryptocurrencies, Bitcoin, Monero, Litecoin and Bitcoin Cash,

18       links to the home page, order status, as well as a few other

19       links to other hidden services sites.          And on the far left,

20       information about the exchange rates of various

21       cryptocurrencies.

22                    THE COURT:   Can I ask is there a way to make this a

23       little bit larger for the benefit of the jury?

24                    MR. BROWN:   Yes.

25                    THE COURT:   Thank you.
     Case 1:21-cr-00399-RDM    Document 278    Filed 03/16/24   Page 36 of 123
                              DIRECT EXAMINATION OF MR. PRICE                    36

1        BY MR. BROWN:
2        Q.    And actually, Mr. Price, you mentioned I think you rattled

3        off a few different names of virtual currencies.              Could you

4        explain to the jury what those virtual currencies are?

5        A.    Yes.   There are thousands of different virtual currencies.

6        Again Bitcoin is the primary.         The commonly used acronym for

7        Bitcoin is BTC or a shortened term for it.             Below that on the

8        left, there are three others XMR, Monero; LTC, Litecoin; and

9        BCH, Bitcoin Cash.      There are other types of cryptocurrencies.

10       They don't have the same market capitalization as Bitcoin.

11       Q.    And so these three letter acronyms in the bottom left,

12       what do they represent?

13       A.    The acronyms on the -- for example here, exchange rates,

14       the acronyms, BTC stands for Bitcoin/USD.              That is the value at

15       that time of Bitcoin to the US dollar.            Below that, BTC EUR,

16       Bitcoin for Euro and on and on for the various currencies

17       listed.

18       Q.    And if we could scroll back up to the top of the screen.

19       Does this page reflect you logged in or not logged in to

20       Apollon?

21       A.    It reflects me logged in.

22       Q.    We can close that out.         And I would like to direct your

23       attention to Exhibit 203R, which is not in your binder.

24             Do you recognize this exhibit?

25       A.    Yes, I do.
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 37 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   37

1        Q.    What do you recognize this exhibit to be?

2        A.    This is a screenshot I took of the Bitcoin Fog hidden

3        services site deposit page on or about November 18th, 2019.

4        Q.    And have you previously reviewed this screen recording?

5        A.    I have.

6        Q.    And does this screen recording fairly and accurately

7        represent the screen as you viewed it and the steps that you

8        took on November 18th?

9        A.    It does.   My apologies.       I think I misspoke and said

10       screenshot.     It is actually a screen recording video.

11                  MR. BROWN:     The government moves to admit and publish

12       203R.

13                  THE COURT:     Any objection?

14                  MR. EKELEND:      No objection, Your Honor.

15                  THE COURT:     Exhibit 203R is admitted and may be

16       published to the jury.

17                  (Whereupon, Exhibit No. 203R was admitted.)
18       BY MR. BROWN:
19       Q.    So to begin with before we start running through the

20       video, could you explain where we are right now?

21       A.    We are at the deposit page of the Bitcoin Fog hidden

22       services site.

23       Q.    Why are you on the deposit page for Bitcoin Fog?

24       A.    I am preparing to make a deposit into the service.

25       Q.    And is there information on this page that you need to
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 38 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   38

1        have in order to make that deposit?

2        A.    Yes.   In the center of the screen, as previously viewed in

3        earlier exhibits, there is a deposit address listed beginning

4        with 34pQQK

5        Q.    Let's go ahead and play for just a few seconds.

6                     (Video played.)

7        BY MR. BROWN:
8        Q.    Then if we could pause here.        Mr. Price, what page are we

9        on here?

10       A.    This is the landing page of the Apollon hidden services

11       site darknet market.

12       Q.    And could you point out the web address for the Apollon

13       hidden services website?

14       A.    Yes.   In the upper corner of this video in a light gray

15       box, beginning with HTTP://, a series of letters,

16       APOLLONUJSCJRLNG.onion.

17       Q.    And in order to access this hidden services website, can

18       you access it using a regular browser?

19       A.    No.

20       Q.    What kind of browser do you need to use?

21       A.    In this case I am using Tor Browser extension in the Silo

22       program.

23       Q.    Now, just looking at the page here, on the left-hand side

24       there is text that says browse categories.            Could you describe

25       what is below that text?
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 39 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   39

1        A.    Yes.   These are categories of products for sale on the

2        market.   On the left-hand side beginning with fraud, drugs,

3        below that; guides and tutorials, fakes, digital goods, carded

4        items and services.      And by clicking those links you can be

5        taken to listings for those products.

6        Q.    And, Mr. Price, have you had an opportunity to browse the

7        Apollon hidden services website?

8        A.    Yes.

9        Q.    What sorts of good and services are available there?

10       A.    Numerous goods, primarily narcotics, cocaine, marijuana,

11       heroin, pills, things of that nature, items used for fraud

12       schemes, such as stolen tax returns, stolen social security

13       numbers, items to create carding or involved in carding scams

14       such as stolen credit card numbers, devices to create

15       counterfeit credit cards, fake items, passwords to log into

16       websites, things of that nature.

17       Q.    And in the middle of the screen, it appears to say welcome

18       back and then some text.       Can you explain what that says?

19       A.    Yes.   The word after that Chiquita 420 is the moniker I

20       created for this account.

21       Q.    Was there a reason you chose that moniker?

22       A.    I think I was eating a banana at the time.

23       Q.    We can go ahead and hit play.        Pause here.      So what page

24       are we on here?

25       A.    This is the withdrawal page on the Apollon market.
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24    Page 40 of 123
                              DIRECT EXAMINATION OF MR. PRICE                    40

1        Q.    How do you withdraw funds from your Apollon market

2        account?

3        A.    Similarly, I had done it through Bitcoin Fog.              I have to

4        enter the amount I'd like to withdraw as well as the address

5        where I'd like to send the funds to.

6        Q.    We can go ahead and play.

7                   (Video played.)

8        BY MR. BROWN:
9        Q.    Pause here.     You entered in two fields at the bottom of

10       that page here.      What are those two fields?

11       A.    I think I actually entered four.         The first thing I did

12       was paste in the withdrawal address where I wanted to send

13       funds.   I previously copied that from the Bitcoin Fog page in

14       the previous portion of the video.         I then entered the amount

15       of Bitcoin I wanted to withdraw.         That was approximately .011

16       Bitcoin.   Below that where it says you currently have .011,

17       approximately, Bitcoin in your balance.           This site required me

18       to enter in both a pin that I had previously created and a

19       CAPTCHA image, which is W6LFRY

20                  MR. BROWN:     Go ahead and continue.

21       BY MR. BROWN:
22       Q.    And pause here.     What just happened?

23       A.    I had attempted another withdrawal.             I was testing the

24       site's functionality, so I had entered in additional

25       information.    And I wanted to see what would happen if I didn't
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 41 of 123
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1        do it correctly and it did not allow me to make a withdrawal.

2        Q.    Go ahead and continue.

3                    (Video played.)

4        BY MR. BROWN:
5        Q.    IRS-CI, and pause here.        At this point in your Apollon

6        page, what does this reflect?

7        A.    This is my deposit and withdrawal history from the site.

8        Q.    What does your deposit and withdrawal history show here?

9        A.    It shows that I made -- previously had made a deposit of

10       approximately 0.0118 Bitcoin.        And I subsequently made a

11       withdrawal to address 34pQQK of approximately 0.0117 Bitcoin.

12       And it was still in process.

13       Q.    Go ahead and continue.

14             Now pause here.     Where are you now?

15       A.    So I logged -- I have tabbed over to the Bitcoin Fog

16       hidden services site.

17       Q.    What is your account balance here?

18       A.    At this time, it is .00425444 Bitcoin.

19       Q.    Does that reflect the funds that you sent from Apollon

20       market to Bitcoin Fog?

21       A.    No.   This is the residual amount I had left on the

22       platform from my previous transactions in September of 2019.

23       Q.    Why didn't the balance here update immediately?

24       A.    Again, it can take anywhere from 30 minutes to several

25       hours for transactions to be confirmed on the Bitcoin network.
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1        Q.    And we can close that out.        I would like to move forward

2        to the next day, which would be November 19th, 2019.              What

3        happened on November 19th?

4        A.    On November 19th, I again logged into the previously

5        created account on the Bitcoin Fog hidden services site, both

6        to view my balance and to send messages to the -- through the

7        platform.

8        Q.    So on the screen in front of you, you should be able to

9        see Exhibit 204D.      Do you see that?

10       A.    I do.

11       Q.    Do you recognize that exhibit?

12       A.    It appears to be a screen recording of me accessing the

13       Bitcoin Fog hidden services site.

14       Q.    And does that screen recording fairly and accurately

15       represent the screen as you saw it that day?

16       A.    Yes.

17       Q.    Have you previously reviewed this video?

18       A.    I have.

19                    MR. BROWN:   The government moves to admit and publish

20       Exhibit 204D.

21                    THE COURT:   Any objection?

22                    MR. EKELEND:    No objection, Your Honor.

23                    THE COURT:   204D is admitted and may be published to

24       the jury.

25                    (Whereupon, Exhibit No. 204D was admitted.)
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 43 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   43

1        BY MR. BROWN:
2        Q.    We can go ahead and play.       And pause here.

3              So now what has happened?

4        A.    So early in the video, I entered my previously created

5        username and password and logged into the page.             And I am now

6        at the welcome page of the Bitcoin Fog hidden services site.

7        Q.    You see your balance here?

8        A.    I can.

9        Q.    What does your balance show?

10       A.    Approximately 0.157 Bitcoin.

11       Q.    Does that reflect the payment you made from Apollon

12       market?

13       A.    Yes, it does.

14       Q.    We can close that and I'd like to direct your attention to

15       government Exhibit 204E.       And pause here.

16             Mr. Price, do you recognize Exhibit 204E?

17       A.    I do.

18       Q.    What do you recognize it to be?

19       A.    This is another screen recording I took on or about

20       November 19th, 2019.

21       Q.    Have you previously reviewed this screen recording?

22       A.    Yes, I have.

23       Q.    Does this recording fairly and accurately depict the

24       screen and the actions that you took on November 19th?

25       A.    It does.
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1                    MR. BROWN:    The government moves to admit and publish

2        Exhibit 204.

3                    THE COURT:    Any objection?

4                    MR. EKELEND:     No objection, Your Honor.

5                    THE COURT:    Exhibit 204E is admitted and may be

6        published to the jury.

7                    (Whereupon, Exhibit No. 204E was admitted.)
8        BY MR. BROWN:
9        Q.    So we can go ahead and play.

10             We can go ahead and pause here.

11             Mr. Price, what has the jury just watched here on the

12       screen?

13       A.    After logging into the site and verifying my balance from

14       the previous day's transaction, I was reviewing the various

15       pages of the site.      I clicked on the links for home and then

16       deposit and then wallet and then support and the video is

17       paused at the support page.

18       Q.    Could you describe the support page?            What is on it?

19       A.    The support page has a function to send messages to

20       Bitcoin Fog.    And that was pointed out in the BitcoinTalk.org

21       forum as the means to communicate with those behind the

22       platform.

23       Q.    And we can close out this exhibit and directing your

24       attention to the next exhibit, which is Exhibit 204F.                  And,

25       Mr. Price, do you recognize Exhibit 204F?
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                              DIRECT EXAMINATION OF MR. PRICE                   45

1        A.    I do.

2        Q.    What do you recognize it to be?

3        A.    This is a screenshot I took on or about November 19th,

4        2019 of the Bitcoin Fog hidden services site.

5        Q.    Is it a screenshot or a screen video?

6        A.    My apologies.     It is a screen recording video.

7        Q.    Have you previously reviewed this video?

8        A.    I have.

9        Q.    Does this video fairly and accurately depict what was

10       going on on your screen and what you were -- the actions you

11       were taking on that date?

12       A.    It does.

13                  MR. BROWN:     The government moves to admit

14       Exhibit 204F.

15                  THE COURT:     Any objection?

16                  MR. EKELEND:      No objection, Your Honor.

17                  THE COURT:     Exhibit 204F is admitted and may be

18       published to the jury.

19                  (Whereupon, Exhibit No. 204F was admitted.)
20       BY MR. BROWN:
21       Q.    We can go ahead and hit play.

22                  (Video played.)

23       BY MR. BROWN:
24       Q.    Can we pause here.      Mr. Price, what are you doing on the

25       screen right here in the video?
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                              DIRECT EXAMINATION OF MR. PRICE                   46

1        A.    I am using the box for producing support messages or

2        sending support messages to the Bitcoin Fog administrators.                 I

3        am entering text into the box preparing to send a message

4        through the messaging function.

5        Q.    Can you read what you have written so far in that text?

6        A.    "Hello.   I created my account to clean my coins from

7        selling ecstasy.      I sold Molly on Apollon.        And I have been

8        selling on WSM and Dream but all" --

9        Q.    What is ecstasy?

10       A.    Ectasy it is controlled narcotic.

11       Q.    What is Molly?

12       A.    Molly is a street name or slang term for ecstasy.

13       Q.    What is Apollon?

14       A.    Apollon is the previously referenced darknet market that I

15       had previously created an account on.

16       Q.    What is WSM?

17       A.    WSM is an acronym for Wall Street Market, which was

18       another commonly used darknet market at this time.

19       Q.    What is dream?

20       A.    Dream is another darknet market.

21       Q.    We can continue.

22                  (Video played.)

23       BY MR. BROWN:
24       Q.    All right.     And maybe pause here.

25             Could you read the last 2 full sentences that you have
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 47 of 123
                              DIRECT EXAMINATION OF MR. PRICE                    47

1        written here?

2        A.    "I have more coins I need cleaned.          But how do I know I

3        can trust you?       People on Bitcoin Talk say you are a scam."

4        Q.    Is that the grammatically correct your?

5        A.    No.

6        Q.    Was there a reason you wrote it that way?

7        A.    I was trying to not look too much like a cop.

8        Q.    You can continue.      Mr. Price, while the video is playing,

9        what is going on on the screen here?

10       A.    So simultaneously to recording the screen, I was also

11       taking a screenshot of specific actions, in this case what I

12       had written in the chat box.

13       Q.    Are those screenshots a function of the software that you

14       were using?

15       A.    They are.

16       Q.    And pause here.     So where have we navigated to or where

17       have you navigated to?

18       A.    After typing the text to come into the message box, I hit

19       send, after taking screenshots, returned back to the messaging

20       function and saw that my text was no longer in the box.                It was

21       below under a section labeled message history.

22       Q.    And beneath message history, is there some text in

23       parenthesis?

24       A.    Yes.

25       Q.    Could you read what is shown in those parenthesis?
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 48 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   48

1        A.    It says, "Answers from our crew appear here.             And below

2        that you can also wipe the message history, not undoable."

3        Q.    And we can close this out.        And in your binder, I would

4        like to direct your attention to Exhibits 204A, 204B and 204C.

5        And do you recognize those exhibits?

6        A.    I do.

7        Q.    And what do you recognize those three exhibits to be?

8        A.    These are screenshots I took on or about November 19th,

9        2019 of the messages I wrote through the Bitcoin Fog hidden

10       services site.

11       Q.    Do those screenshots fairly and accurately represent the

12       screen on that date and time?

13       A.    They do.

14                  MR. BROWN:     The government moves to admit and publish

15       Exhibit 204A, 204B and 204C.

16                  THE COURT:     Any objection?

17                  MR. EKELEND:      I am assuming that you just scrolled

18       through 204A, B and C, that is what I just saw in sequence?

19                  No objection, Your Honor.

20                  THE COURT:     Exhibits 204A, B and C are admitted and

21       may be published to the jury.

22                  (Whereupon, Exhibit No. 204A - 204C were admitted.)
23       BY MR. BROWN:
24       Q.    If I can direct your attention to Exhibit 204A.             What does

25       this screenshot show?
     Case 1:21-cr-00399-RDM    Document 278    Filed 03/16/24   Page 49 of 123
                              DIRECT EXAMINATION OF MR. PRICE                      49

1        A.     This is a screenshot of the first portion of the text I

2        entered into the Bitcoin Fog support message function.

3        Q.     Could you go ahead and read the whole message to the jury?

4        A.     "Hello, I need help.     I created my account to clean my

5        coins from celling ecstasy.          I sold Molly on Apollon and I have

6        been selling on WSM and Dream, but all of the exit scams and

7        scams got me spooked.       I am new to this and I am worried I am

8        going to get caught.      I need help cleaning my Bitcoin.              And I

9        don't trust the big mixers after Best Mixer.             Bitcoin Fog has

10       been around forever.      You you guys must be doing" --

11       Q.     And then can we move Exhibit 204B.          And what does this

12       show?

13       A.     This is the remainder of the text I had entered to the

14       support messaging function.

15       Q.     Can you finish reading the message you wrote in?

16       A.     Beginning with the second paragraph where it starts you

17       you,    "You you guys must be doing something right.             I have more

18       coins I need cleaned, but how do I know I can trust you?

19       People on Bitcoin Talk say you are a scam."

20       Q.     And then can I direct your attention to Exhibit 204C.               And

21       what does this exhibit show?

22       A.     This is a screenshot I took of the message function page

23       after I had sent the message.         And it shows my message history.

24       Q.     We can close that out.        So I would like to move forward in

25       time two days to November 19th -- November 21st, 2019.                  What,
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                              DIRECT EXAMINATION OF MR. PRICE                    50

1        if anything, happened on November 21st, 2019?

2        A.    On November 21st, 2019, I again logged into my previously

3        created account on the Bitcoin Fog hidden services site.                And I

4        reviewed the messaging function, as well as some of the other

5        pages and made a withdrawal of funds from Bitcoin Fog to a

6        previously created wallet off platform.

7        Q.    So we would like to direct your attention to Exhibit 205F.

8        Bear with us for a moment.       Pause there.         Mr. Price, do you

9        recognize this exhibit?

10       A.    I do.

11       Q.    What do you recognize it to be?

12       A.    It is a screen recording I took on or about November 21st,

13       2019 of interactions I had with the Bitcoin Fog hidden services

14       site.

15       Q.    And have you previously reviewed this -- did you say a

16       screenshot or a video?

17       A.    Apologies.     I keep butchering that.          It was a screen

18       video.

19       Q.    Have you previously reviewed this screen video?

20       A.    I have.

21       Q.    Does this video fairly and accurately represent what you

22       saw on the screen and the actions that you took on

23       November 21st?

24       A.    It does.

25       Q.    We can go ahead and play it.
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1                    THE COURT:    I'm sorry.

2                    MR. BROWN:    I'm sorry.

3                    THE COURT:    This one I don't think you have moved in

4        yet.

5                    MR. BROWN:    Apologies, Your Honor.        The government

6        moves to admit and publish 205F.

7                    THE COURT:    Any objection?

8                    MR. EKELEND:     No objection, Your Honor.

9                    THE COURT:    205F is admitted and may be published to

10       the jury.

11                   (Whereupon, Exhibit No. 205F was admitted.)
12       BY MR. BROWN:
13       Q.     Mr. Price, just before we start playing, where -- what is

14       shown on the screen here?

15       A.     This is a -- the video begins with me in the Silo tool

16       using the Tor Browser functionality.          And I had entered the

17       hidden services site address for Bitcoin Fog.

18       Q.     And where is the hidden services address?

19       A.     On the upper portion of the browser tab in a light gray

20       box beginning with HTTP://FOGGEDDRIZTRCAR2.onion.

21       Q.     Go ahead and play.

22                   (Video played.)

23       BY MR. BROWN:
24       Q.     We can pause here.     So what have you done so far in this

25       video?
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 52 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   52

1        A.    After accessing the Bitcoin hidden services site, I

2        entered my previously created username and password.              And I

3        clicked on the support function to review my message history.

4        Q.    By this time, had anyone responded to your message?

5        A.    No.

6        Q.    We can move on to Exhibit 205G and pause here.

7              Mr. Price, do you recognize Exhibit 205G?

8        A.    I do.

9        Q.    What do you recognize it to be?

10       A.    This is the webpage StrongCoin.com where I had previously

11       created a wallet to receive funds from Bitcoin Fog.

12       Q.    What form of media is Exhibit 205G?

13       A.    Again, it is a screen recording.

14       Q.    And have you previously reviewed this screen recording?

15       A.    I have.

16       Q.    Does it fairly and accurately depict the events on the

17       screen on that date and time?

18       A.    It does.

19                   MR. BROWN:    The government moves to admit and publish

20       Exhibit 205G?

21                   THE COURT:    Any objection?

22                   MR. EKELEND:     No objection, Your Honor.

23                   THE COURT:    Exhibit 205G is admitted and may be

24       published to the jury.

25                   (Whereupon, Exhibit No. 205G was admitted.)
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24    Page 53 of 123
                              DIRECT EXAMINATION OF MR. PRICE                    53

1        BY MR. BROWN:
2        Q.     Can we go ahead and actually pause?            I'm sorry.   Pause

3        here.

4               So where are we here in the video?

5        A.     I believe this is the beginning of the video.             And I am at

6        the StrongCoin.com.      Or I have logged into StrongCoin.com and I

7        am looking at my public wallet addresses.

8        Q.     What is StrongCoin.com?

9        A.     It is a free Bitcoin wallet service.

10       Q.     Go ahead and play.

11                  (Video played.)

12       BY MR. BROWN:
13       Q.     Pause here.

14              Mr. Price, at this point in the video, what are you doing?

15       A.     Apparently I had made a typo when I entered my username,

16       so I corrected that and logged back into the Bitcoin Fog hidden

17       services site.       And I had separate tabs open, one for the

18       Bitcoin Fog site using the Tor functionality; the second using

19       a Dutch point of presence to access the StrongCoin wallet.                 And

20       I am tabbing between the windows to enter the necessary

21       information to prepare to conduct a transaction from Bitcoin

22       Fog.

23       Q.     And it looks like you may have selected or highlighted

24       something on this page.       Is that accurate?

25       A.     I did.   I highlighted a Bitcoin Fog address from the
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 54 of 123
                              DIRECT EXAMINATION OF MR. PRICE                   54

1        StrongCoin page.

2        Q.    Why did you highlight that Bitcoin address?

3        A.    I am preparing to copy it so I can paste it into the

4        withdrawal page on Bitcoin Fog.

5        Q.    What is the purpose of pasting it into the withdrawal page

6        on Bitcoin Fog?

7        A.    Both because it is easier than manually typing all of

8        these letters in, but also to ensure I have it accurate so that

9        I can conduct a withdrawal from the Bitcoin Fog platform.

10       Q.    You can continue.

11                   (Video played.)

12       BY MR. BROWN:
13       Q.    So pause here.     So on the video recording, what has just

14       happened?

15       A.    I had pasted in the wallet address from StrongCoin.com

16       into the withdrawal destination address box on the withdrawal

17       page.   And then entered the amount of Bitcoin I wanted to

18       withdraw from the Bitcoin Fog hidden services site, entered the

19       required security text.       Before I did that, I took a screenshot

20       and I then pushed the withdrawal confirmation button and I was

21       taken to the page stating the payment was complete.

22       Q.    And did Bitcoin Fog require any further information before

23       this transaction went through?

24       A.    None whatsoever.

25       Q.    We can close that out.
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                              DIRECT EXAMINATION OF MR. PRICE                   55

1                   THE COURT:     Mr. Brown, is this a good time for the

2        morning break?

3                   MR. BROWN:     Actually, I'm sorry.        Maybe just two more

4        minutes.

5                   THE COURT:     That is fine.

6                   MR. BROWN:     Actually, let's not close that out.          I

7        have just have one or two more questions on this video.

8                   Let's go ahead and continue.

9                   (Video played.)

10       BY MR. BROWN:
11       Q.    And while the video is playing, what is going on on the

12       screen here?

13       A.    I am taking screenshots of various aspects of the page.

14       Q.    And then pause here.      So where -- in the screen recording

15       right now, where is your mouse?

16       A.    It is hovering over the clear note website link on the

17       bottom portion of the page.

18       Q.    Does something happen when you hover your mouse over the

19       text?

20       A.    On the bottom left-hand side of the screen a box pops up

21       with a hyperlink to WWW.BitcoinFog.com.

22       Q.    And then pause here.      Where is your mouse here?

23       A.    Covering over a link that states BitcoinTalk.org thread.

24       Q.    Do you -- and is there text that appears here?

25       A.    Similar to the last one in the bottom left-hand corner is
     Case 1:21-cr-00399-RDM     Document 278    Filed 03/16/24    Page 56 of 123
                              DIRECT EXAMINATION OF MR. PRICE                      56

1        a box with the web address HTTPSBitcoinTalk.org.

2        Q.     Looking at the web address on the right-hand side is there

3        a number associated with this specific topic?

4        A.     Yes.   50037.

5        Q.     Do you have an understanding of what that link leads to?

6        A.     It leads to the BitcoinTalk.org forum thread about Bitcoin

7        Fog.

8                      MR. BROWN:   We can pause here.           That is my last

9        question on this exhibit.

10                     THE COURT:   Okay.      Why don't we go ahead and take our

11       break now then.      It is just a couple of minutes past 11:00.

12       Let's take a break until 11:20.           And I will remind you, don't

13       discuss the case among yourselves and don't any research.                 And

14       I will see you back here about 18 minutes or so.

15                     THE COURTROOM DEPUTY:       All rise.

16                     (Jury out at 11:01 a.m.)

17                     THE COURT:   Mr. Ekeland, did you want raise something

18       about the computer?

19                     MR. EKELEND:    Yes, Your Honor.          Just very briefly.

20       We wanted to update you on the status of Mr. Sterlingov's

21       laptop.   He still does not have access to a laptop to review

22       discovery in the jail.        And then last night, the jail

23       apparently issues tablets.         And that is the way they make their

24       phone calls primarily is my understanding.               They took his

25       tablet away, not just him apparently, I think a lot of people,
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1        saying that they got -- there was some kind of software update

2        or something.    So it is my understanding that Mr. Sterlingov is

3        having a lot of trouble calling us.          I just wanted to update

4        the Court on that, for the record.

5                   THE COURT:     All right.     I spoke to the marshal

6        yesterday and he said he would make arrangements with respect

7        to the computer.      It may be that it hasn't happened yet.           But

8        if it doesn't happen in the next day or two, let me know.                  The

9        Marshals Office has told me this will be fixed.

10                  MR. EKELEND:      We appreciate that, Your Honor.           I

11       wanted to make a record on that point.

12                  THE COURT:     All right.     Anything else before we take

13       our break?

14                  MR. BROWN:     No, Your Honor.

15                  THE COURT:     All right.

16                  (Recess taken at 11:03 a.m.)

17                  (Jury in at 11:29 a.m.)

18                  THE COURT:     All right.     Mr. Brown, you may continue.

19       BY MR. BROWN:
20       Q.    Mr. Price, I'd like to direct your attention in the binder

21       to Government Exhibits 205A through 205B through D.

22       A.    Okay.

23       Q.    Do you recognize those four exhibits?

24       A.    I do.

25       Q.    What do you recognize those exhibits to be?
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                              DIRECT EXAMINATION OF MR. PRICE                   58

1        A.    These are a series of screenshots I took while accessing

2        the Bitcoin Fog website.

3        Q.    Were those screenshots that you took continuing on the

4        November 21st, 2019 transaction?

5        A.    They were.

6        Q.    Do those screenshots fairly and accurately represent the

7        screen as you saw it that day?

8        A.    They do.

9                   MR. BROWN:     The government moves to admit and publish

10       Exhibits 205, 205A, 205B, 205C and 205D?

11                  THE COURT:     Any objection?

12                  MR. EKELEND:      No objection, Your Honor.

13                  THE COURT:     Exhibits 205A through D are admitted and

14       may be published to the jury.

15                  (Whereupon, Exhibit No. 205A - 205D were admitted.)
16       BY MR. BROWN:
17       Q.    Mr. Price, could you also in your binder look at 205E as

18       in echo?

19       A.    I have it.

20       Q.    And do you recognize that exhibit?

21       A.    Yes, I do.

22       Q.    What do you recognize that exhibit to be?

23       A.    Another screenshot that I took of the Bitcoin Fog hidden

24       services site on or about the 21st of November 2019.

25       Q.    Does that screenshot also fairly and accurately represent
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 59 of 123
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1        the screen as you saw it on that day?

2        A.    It does.

3                    MR. BROWN:    The government moves to admit and publish

4        205E.

5                    THE COURT:    Any objection?

6                    MR. EKELEND:     No objection, Your Honor.

7                    THE COURT:    205E is admitted and may be published to

8        the jury.

9                    (Whereupon, Exhibit No. 205E was admitted.)
10       BY MR. BROWN:
11       Q.    Now directing your attention to 205A.           What is shown here?

12       A.    This is a screenshot of the support message function on

13       the Bitcoin Fog company hidden services site showing the

14       message I posted under the message history section.

15       Q.    And then directing your attention to Exhibit 205B.               What

16       does this exhibit show?

17       A.    Another screenshot of the withdrawal page from Bitcoin Fog

18       prior to confirming the transaction, showing the amount,

19       designation address and the security text I entered.

20       Q.    And then directing your attention to Exhibit 205C.               What

21       does this show?

22       A.    This is a screenshot after the withdrawal is completed

23       showing that payment was complete.

24       Q.    And then directing your attention to Exhibit 205D.               What

25       does this show?
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1        A.    Screenshot of the home page of the Bitcoin Fog hidden

2        services site.

3        Q.    And then directing your attention to 205E.            What does that

4        show?

5        A.    Screenshot of the portion of the Bitcoin Fog hidden

6        services landing page showing the hyperlinks at the bottom.

7        Q.    Were all of these screenshots taken as part of that

8        November 21st, 2019 transaction?

9        A.    Yes, they were.

10       Q.    And now having reviewed the footage for the November 2019

11       transaction from November 18th to the 21st, could you recap for

12       the jury the steps that you took?

13       A.    Yes.   Using an initially created wallet off platform, I

14       sent funds to a covert account created on the Apollon market,

15       reviewed the Apollon market screenshots of that and videoed my

16       interactions with it.       From there, I opened -- logged into my

17       previously created undercover account on Bitcoin Fog.                  I

18       transferred funds from my customer account at Apollon market

19       into Bitcoin Fog.      I then used the messaging function on the

20       Bitcoin Fog hidden services site to send a message to Bitcoin

21       Fog administrators.

22             I mentioned that the funds I was using were from the sale

23       of narcotics and I was looking for assistance to help clean

24       more.   Approximately two days later, I logged back into the

25       platform.    I then reviewed the messaging function to see if I
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1        had received a response, which I had not.             I then initiated a

2        withdrawal transaction and withdrew Bitcoin that I had

3        previously sent from Bitcoin Fog to a third wallet at

4        StrongCoin.com and was able to successfully complete that

5        transaction.

6        Q.    All right.     And we can close that out.        So during the

7        course of the investigation, did you also learn about an entity

8        called Moon VPN?

9        A.    I did.

10       Q.    What was Moon VPN supposed to be?

11       A.    It was purportedly a website to purchase virtual private

12       network software.

13       Q.    Was Moon VPN associated with any person?

14       A.    As I recall, it was associated with Roman Sterlingov.

15       Q.    In your binder, I'd like to direct your attention to

16       Exhibits 418A and B.

17       A.    Okay.

18       Q.    Do you recognize those two exhibits?

19       A.    I do.

20       Q.    What do you recognize them to be?

21       A.    These are anti-money laundering and know your customer

22       from the Kraken digital currency exchange.

23       Q.    What is the Kraken digital currency exchanges?

24       A.    Kraken is a virtual currency exchange service that

25       provides cryptocurrency trading exchange, buying and selling.
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1        Q.    And are these fair and accurate copies of records provided

2        by Kraken?

3        A.    Yes.

4                     MR. BROWN:   The government moves to admit exhibits

5        418A and 418B?

6                     THE COURT:   Any objection?

7                     MR. EKELEND:    I'm sorry.     Could I see 418B one more

8        time?

9                     No objection, Your Honor.

10                    THE COURT:   418A and B are admitted and may be

11       published to the jury.

12                    (Whereupon, Exhibit No. 418A and 418B were admitted.)
13       BY MR. BROWN:
14       Q.    So looking at Exhibit 418A, first of all, what sort of a

15       record is this?

16       A.    It appears to be an internal Kraken anti-money laundering

17       record describing the universal business ownership of a

18       customer account.

19       Q.    Is there a name associated with this Kraken account

20       holder?

21       A.    The legal name of the entity is To The Moon LTD and it

22       lists two officers.

23       Q.    What are the two officers listed?

24       A.    Roman Sterlingov, who is listed as developer, with one

25       hundred percent controlling interest and Neville Cutajar,
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1        company secretary.

2        Q.    Is there bank account information here?

3        A.    There is.

4        Q.    And where do you see that?         Could you point that out on

5        the screen?

6        A.    Yes.   Towards the bottom of the paragraph, it says bank

7        name Sparkasse Bank Malta PLC.

8        Q.    During the course of your investigation, did you find

9        whether there was an entity associated with To the Moon in

10       Malta?

11       A.    Yes.

12       Q.    Directing your attention to the second exhibit, 418B.              If

13       we could scroll through from the top to the bottom slowly and

14       then we'll ask you to describe what is here.

15       A.    This is a scan of a passport from the Republic of Malta

16       from an individual named Neville John Cutajar.

17             The next page appears to be an identity card from Sweden

18       listing the name Roman Sterlingov with a date of birth of

19       August 14th, 1988.

20       Q.    We can close that out.         During the course of your

21       investigation, did you find a website associated with Moon VPN?

22       A.    I did.

23       Q.    And do you happen to recall what the website was?

24       A.    I believe it was Moon VPN.org.

25       Q.    Now, going back to November of 2019, did you take any
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 64 of 123
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1        investigative steps with regard to Moon VPN?

2        A.    I did.

3        Q.    And what investigative steps did you take?

4        A.    I accessed the website for MoonVPN.org.           I reviewed the

5        website itself, took a series of screen captures and made a

6        purchase of the software offered on the website.

7        Q.    And did you document these steps with screenshots?

8        A.    I did.

9        Q.    So directing your attention to Exhibit 206A and there

10       should be a copy in your binder.

11       A.    Okay.

12       Q.    Do you recognize this exhibit?

13       A.    I do.

14       Q.    What do you recognize it to be?

15       A.    It is a screenshot of the MoonVPN.org website that I took.

16       Q.    Does this screenshot fairly and accurately show the screen

17       of MoonVPN.org?

18       A.    It does.

19                   MR. BROWN:    The government moves to admit and publish

20       Exhibit 206A.

21                   THE COURT:    Any objection?

22                   MR. EKELEND:     No objection.

23                   THE COURT:    206A is admitted and may be published to

24       the jury.

25                   (Whereupon, Exhibit No. 206A was admitted.)
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1        BY MR. BROWN:
2        Q.    So at a high level, could you describe what is shown on

3        the screen here?

4        A.    Yes.   It is the landing page for MoonVPN.org.             And it has

5        some information about the service, the product, as well as

6        some news feeds and a link to -- or a logo stating that it

7        accepts Bitcoin.

8        Q.    And maybe explain to the jury, what is a VPN?

9        A.    A VPN is a virtual private network.             It is a service that

10       is commonly used to help conceal one's internet protocol

11       address when accessing the internet.

12       Q.    If we could look at the page in the center.             There is a

13       two-word heading.      Can you read the two-word heading?

14       A.    Yes.   It states, "No logs."

15       Q.    What does the text read below that?

16       A.    "Moon VPN does not keep connection and data traffic logs.

17       We are not required by law in our jurisdiction to do so.

18       Because of this, even if we are instructed/forced to reveal any

19       user information by anyone, we will not be able to reveal any

20       such information."

21       Q.    And then to the right of that is there another block of

22       text?

23       A.    Yes.   It states, "Weekly warrant canary."

24       Q.    Can you go ahead and read the block of text beneath that

25       heading?
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1        A.    "Moon VPN periodically publishes a PGP signed document

2        (warrant canary) indicating that we have not been forced to

3        reveal user information by a gag order/warrant.             We take upon

4        us to accurately update information in the canary so users can

5        check the latest publication to see if Open VPN has been

6        compromised."

7        Q.    What is PGP?

8        A.    It stands for pretty good privacy and it is an encryption

9        protocol.

10       Q.    What process do you understand this warrant canary to be

11       describing?

12       A.    It is very common for law enforcement to seek information

13       from internet service providers, websites and other service

14       providers such as VPNs in the course of official

15       investigations.      That is often done using legal process.           And I

16       understand this to be stating that this particular service,

17       Moon VPN, should they receive anything of that nature would

18       notify that they had received that.          Those orders are typically

19       kept confidential or sometimes under a court nondisclosure

20       order.

21       Q.    Now, remind the jury again, when was it that you accessed

22       this website and took the screenshot?

23       A.    This was around October -- November 19th of 2019.

24       Q.    And if we scroll down to the bottom, are there any clues

25       on this page about when the page was last updated?
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1        A.    Yes.

2        Q.    And what clue do you see?

3        A.    The bottom under the news heading, there is an entry from

4        December 15th stating happy new year.          To me it appears that it

5        has not been updated since 2016, because the text states "Happy

6        new year to all of our users.        What awaits us in 2016?"

7        Q.    Did you in fact purchase or attempt to purchase service

8        from Moon VPN?

9        A.    Yes.

10       Q.    Directing your attention to Exhibit 206 in your binder,

11       206B in your binder.      Do you recognize that exhibit?

12       A.    I do.

13       Q.    What do you recognize it to be?

14       A.    This is a screenshot I took of an invoice provided by Moon

15       VPN when I attempted to purchase software from the website.

16       Q.    Does this screenshot fairly and accurately show the

17       invoice as you viewed it?

18       A.    Yes, it does.

19                    MR. BROWN:   The government moves to admit and publish

20       Exhibit 206B?

21                    THE COURT:   Any objection?

22                    MR. EKELEND:    No objection.

23                    THE COURT:   Exhibit 206B is admitted and may be

24       published to the jury.

25                    (Whereupon, Exhibit No. 206B was admitted.)
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1        BY MR. BROWN:
2        Q.    So when you attempted to purchase services from Moon VPN,

3        how did you pay?

4        A.    I paid using Bitcoin.

5        Q.    And is there information on this invoice to help you pay

6        for services in Bitcoin?

7        A.    Yes.   On the upper right-hand corner of the invoice.

8        Q.    If it is possible to zoom into the top of the document

9        here.   Could you on the screen show the jury what information

10       there is to assist in paying by Bitcoin?

11       A.    Yes.   As I am circling here, there is an amount to pay

12       where it states pay now, a QR code.          And below that what

13       appears to be a Bitcoin address beginning with television

14       12HX51.

15       Q.    What is the purpose of that 12HX51 Bitcoin address?

16       A.    This is a deposit address from Moon VPN.            This is where I

17       would send Bitcoin to Moon VPN to pay for the software.

18       Q.    Does this invoice tell you how much Bitcoin to send to

19       that address?

20       A.    Yes.   It says approximately 0.01 Bitcoin.

21       Q.    And do you recall roughly how much money that was?

22       A.    It was around $90 US.

23       Q.    And scrolling a little further down in the document, is

24       there information about whom this invoice was issued to?

25       A.    Yes.
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1        Q.    And could you show that on the screen for the jury?

2        A.    (Complying.)

3        Q.    And what have you just circled?

4        A.    I circled the invoice name and address for this product.

5        Q.    What name is listed there?

6        A.    Karl Marx.

7        Q.    And who is Karl Marx?

8        A.    A communist philosopher from the 1800s, Germany.

9        Q.    Is Karl Marx still living today?

10       A.    Not to my knowledge, no.

11       Q.    Was he still living in 2019?

12       A.    I don't believe so.

13       Q.    What physical address is listed here?

14       A.    It is an address in Australia I believe for a fast food

15       restaurant.

16       Q.    And is there a date on this invoice?

17       A.    Yes.   It appears to be November 18th, 2019.

18       Q.    And is that a different date format from what some of us

19       might be used to?

20       A.    Yes.

21       Q.    Now, did you send Bitcoin to the address indicated on this

22       invoice?

23       A.    I did.

24       Q.    And what, if anything, happened after you sent that

25       Bitcoin?
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1        A.    Once I sent the Bitcoin, I was given a link to download a

2        file from the webpage.

3        Q.    Did you download the file?

4        A.    I did.

5        Q.    What happened next?

6        A.    I provided the file to a computer investigative specialist

7        with IRS-CI for review.

8        Q.    What did that review reveal, if anything?

9        A.    It revealed the file was corrupted and unable to be used.

10       It just basically had some text files associated with it.

11       Q.    Now, I would like to direct your attention -- so actually

12       scroll up back to the top of the page.           And just could you

13       indicate to the jury again the Bitcoin deposit address here?

14       A.    Yes.   It begins 12HX51P.

15       Q.    And when you sent Bitcoin to purchase this service, where

16       did you send your Bitcoin to?

17       A.    To that address.

18       Q.    Directing your attention to Exhibit 206C in your binder.

19       Do you recognize that exhibit?

20       A.    Yes, I do.

21       Q.    What do you recognize it to be?

22       A.    It is a screenshot of an open-source blockchain explorer

23       showing the transaction we just described.

24       Q.    And can you tell from looking at the screenshot which

25       blockchain explorer this is?
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 71 of 123
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1        A.    I believe this is Mempool.space.

2        Q.    Does this blockchain explorer fairly and accurately show

3        the transaction details for that transaction?

4        A.    Yes.

5                     MR. BROWN:   The government moves to admit and publish

6        Exhibit 206C.

7                     THE COURT:   Any objection?

8                     MR. EKELEND:    No objection, Your Honor.

9                     THE COURT:   Exhibit 206C is admitted and may be

10       published to the jury.

11                    (Whereupon, Exhibit No. 206C was admitted.)
12       BY MR. BROWN:
13       Q.    Now, Mr. Price, would you indicate is there a date

14       indicated for this transaction?

15       A.    Yes.

16       Q.    And could you circle that on the screen for the jury?

17       A.    (Indicating).     It is hard to see, but November 18th, 2019.

18       Q.    And could you explain the details of this transaction?

19       A.    Yes.   Beginning in the lower left portion, next to the red

20       arrow is a wallet address, which is an address I had previously

21       created.     It a showed a balance of approximately .016 Bitcoin.

22       And on the right-hand side are two addresses, the top one

23       beginning 12HX51P and below it 3H9Q3U.

24       Q.    So the address on the left, the sending address, whose

25       address was that?
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1        A.    That was an address I had created.

2        Q.    And the address on the right the 12HX address, whose

3        address was that?

4        A.    That was the address provided by Moon VPN for a payment

5        for the service.

6        Q.    And then the address below that, could you explain that?

7        A.    That is the change address where the remaining portion of

8        funds that I had sent went.

9        Q.    And looking at this screen, is there anything to indicate

10       how many times the 12HX51 Bitcoin address experienced any

11       transactions?

12       A.    Yes.

13       Q.    And could you point that out to the jury?

14       A.    Yes.   Midway through the page on the left it says one of

15       one transaction.

16       Q.    Looking at the top of the page, is there the address

17       indicated for one of one transaction?

18       A.    Yes.   It is the 12HX51P address.

19       Q.    Now, have you had an opportunity to review a blockchain

20       explorer for this 12HX51 address recently?

21       A.    Yes, I have.

22       Q.    And how recently was that?

23       A.    Within the last couple of weeks.

24       Q.    When you reviewed this address, were there any further

25       transactions on the 12HX51 address?
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1        A.    No, there were not.

2        Q.    So what does it mean to you, just explain to the jury that

3        there are no other transactions involving this address.

4        A.    It means that the funds I sent to purchase the VPN package

5        were still remaining in the deposit address and have never been

6        swept or used for any other purpose.

7        Q.    Now we can close that out.         Directing your attention to

8        April of 2021.       Did you participate in the arrest of the

9        defendant, Roman Sterlingov?

10       A.    I did.

11       Q.    And do you recall the precise date of that arrest?

12       A.    It was mid April 2021.         I apologize.      I am struggling with

13       the date.

14       Q.    Is there anything that might help refresh your

15       recollection?

16       A.    Yes.   I prepared a report of the arrest.

17                    MR. BROWN:   Your Honor, may I approach the witness?

18                    THE COURT:   You may.

19       BY MR. BROWN:
20       Q.    So I have handed you a document.          Do you recognize that

21       document?

22       A.    Yes, I do.

23       Q.    And what is it?

24       A.    This is an arrest report and a memorandum of activity

25       documenting the arrest that I prepared shortly after the arrest
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 74 of 123
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1        of Roman Sterlingov.

2        Q.    And if I could ask you to silently review that document

3        and look up when you are done.

4                     (Pause.)

5                     MR. BROWN:   May I approach?

6                     THE COURT:   You may.

7        BY MR. BROWN:
8        Q.    Now, Mr. Price, having reviewed that document, does that

9        refresh your recollection?

10       A.    It does.

11       Q.    What was the precise date of the arrest?

12       A.    April 27th, 2021.

13       Q.    Could you explain the circumstances leading up to the

14       arrest?

15       A.    Yes.   I was actually off of work at a baseball tournament

16       with my son on the Eastern Shore of Maryland.             Myself and the

17       FBI agents assigned to this investigation received notification

18       from US Customs and Border Protection that Roman Sterlingov had

19       planned travel to the United States to Los Angeles from Moscow.

20       Q.    About how much lead time did you get?

21       A.    It was approximately 72 hours.

22       Q.    Did law enforcement then obtain an arrest warrant?

23       A.    Yes.

24       Q.    And where did you plan to execute the arrest?

25       A.    At Los Angeles International Airport.
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1        Q.    So did you personally travel there to execute the arrest?

2        A.    I did.

3        Q.    Was there anyone else with you?

4        A.    Yes.   Two IRS-CI special agents and a special agent from

5        the Federal Bureau of Investigation and an analyst from IRS-CI.

6        Q.    Who is the analyst?

7        A.    Aaron Bice.

8        Q.    Is it common for a team like yours to have someone like

9        Mr. Bice with them?

10       A.    Yes.

11       Q.    Why is that?

12       A.    On almost every operation the cybercrimes executed, we

13       brought along specialized analysts to assist with any

14       electronic evidence we may collect or if there were

15       cryptocurrency recovery phrases, wallet addresses, anything of

16       that nature to assist with tracing and if authorized by the

17       court seizure of assets.

18       Q.    So after Mr. Sterlingov landed, what happened next?

19       A.    Mr. Sterlingov was greeted by US Customs and Border

20       Protection.    And after completing entry to the US, was brought

21       to the secondary screening room at LAX International Airport.

22       Q.    Does Customs and Border Protection, do they generally

23       screen passengers arriving from international locations?

24       A.    Yes.   Everyone entering the US has to complete screening

25       by CBP.
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1        Q.    Here, what did the CBP secondary screening consist of?

2        A.    CBP has authority to conduct searches and ask questions of

3        travelers entering the United States.          In this case,

4        Mr. Sterlingov was brought into the secondary screening area.

5        The CBP officer searched his baggage and asked him a series of

6        questions about his reasons for traveling to the United States,

7        planned destination, activities, things of the nature.

8        Q.    Were you personally able to observe this process?

9        A.    Yes, I was.

10       Q.    And how was that?

11       A.    Myself and another IRS-CI agent were at an adjacent table

12       along with the Customs and Border Protection officer.

13       Q.    Were you close enough to overhear any conversation?

14       A.    Yes, I was.

15       Q.    What, if anything, did Mr. Sterlingov say about the

16       purpose of his travel?

17                  MR. EKELEND:      Objection, Your Honor.

18                  THE COURT:     Do you want to get on the phone?

19                  (Conference held at the bench.)

20                  THE COURT:     What is the basis of the objection?

21                  MR. EKELEND:      He had been detained at that point and

22       he hadn't been advised of his right to counsel and remained

23       silent.   And this isn't relevant and it is also 403.

24                  THE COURT:     It is only the first of those issues that

25       I think merits a response.       I don't know what the response is.
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1        Was he in custody and were his rights -- had Miranda rights

2        been attached at that point?

3                   MR. BROWN:     He was in Customs custody, yes.               Yes.

4        That would -- he was in custody with CBP.              He had not been

5        advised of his rights, but this was a -- I think these are

6        general screening questions.         It is not a -- it is not an

7        interrogation for law enforcement purchases.

8                   THE COURT:     I don't know off the top of my head the

9        answer to this question.       How much more time do we have for

10       this witness?

11                  MR. BROWN:     Your Honor, I think there is a fair

12       amount of time left, because we will also be going through the

13       physical items that were recovered during the search of

14       Mr. Sterlingov and his luggage.

15                  THE COURT:     So I think we maybe need to come back to

16       this after the lunch break.          If you all can point me to any

17       authority on dealing with this question, this is one that,

18       frankly, should have been briefed pretrial and addressed if

19       there was a suppression motion with respect to the statements

20       he made under Miranda purposes.          But we are where we are on

21       this.   So if there is any authority you want to point me to as

22       to whether he was in custody for Miranda purposes, I would be

23       happy to consider it.

24                  MR. BROWN:     Yes, Your Honor.

25                  THE COURT:     Okay, thank you.
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1                     (End of bench conference.)

2                     THE COURT:   Okay.      You may proceed.

3        BY MR. BROWN:
4        Q.    So skipping ahead a little bit, did the customs and border

5        protection examine Mr. Sterlingov's luggage at all?

6        A.    They did.

7        Q.    What were you able to observe about that examination?

8        A.    They pulled items out of his package, including numerous

9        electronic devices, papers, identity documents, things of that

10       nature.

11       Q.    And did the screening process eventually end?

12       A.    It did.

13       Q.    And then what, if anything, happened after the CBP

14       screening?

15       A.    CBP made an independent determination they were not going

16       to authorize entry into the United States under their

17       authority.    Mr. Sterlingov was escorted by the CBP officers to

18       a processing room.      And they completed their immigration

19       processing and myself and Special Agent Barry with the IRS then

20       entered the room and served Mr. Sterlingov with the arrest

21       warrant that was issued by the court here in DC.

22       Q.    And at the moment of his arrest was Mr. Sterlingov

23       carrying any luggage for his travel?

24       A.    Yes.   He had four suitcases.

25       Q.    Did you seize those suitcases while you were performing
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 79 of 123
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1        the arrest?

2        A.    Yes.

3        Q.    And what, if anything, did you do with those suitcases?

4        A.    Transported the suitcases initially to the FBI resident

5        agency at the Los Angeles International Airport.

6        Q.    Then what did you do?

7        A.    Subsequently transported them, after transporting

8        Mr. Sterlingov to detention, transported them to the IRS-CI Los

9        Angeles field office.

10       Q.    Then was anything further done with those items of

11       luggage?

12       A.    Yes.   I needed to transport the items to Washington, DC,

13       myself via airline.      And before doing so, I conducted an

14       inventory of all of the items in the bags to ensure everything

15       I was taking on the plane could travel.

16       Q.    Is there a name for this process that you conducted?

17       A.    Yes.   It is referred to as an inventory search.

18       Q.    Again, what is the purpose of doing an inventory search?

19       A.    Again, to assure that all of the property I am responsible

20       for is accounted for and safely stored for transport back to

21       Washington.

22       Q.    And directing your attention to Exhibit 112.             It may or

23       may not be in the binder.       It is on the screen?

24       A.    Yeah, I have it.

25       Q.    Do you recognize that exhibit?
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1        A.    I do.

2        Q.    And what do you recognize it to be?

3        A.    This is an inventory of the items in Mr. Sterlingov's

4        luggage that I prepared during the inventory search.

5        Q.    The government moves to -- and does this inventory fairly

6        and accurately list the items that you observed in that

7        luggage?

8        A.    Yes, it does.

9                   MR. BROWN:     The government moves to admit and publish

10       Exhibit 112?

11                  THE COURT:     Any objection?

12                  MR. EKELEND:      No objection, Your Honor.

13                  THE COURT:     Exhibit 112 is admitted and may be

14       published to the jury.

15                  (Whereupon, Exhibit No. 112 was admitted.)
16       BY MR. BROWN:
17       Q.    If we could start with the first page.           What does this

18       exhibit show?

19       A.    This is the inventory I prepared.          It is a list of items,

20       description of the items, reference to photos I took and the

21       location where the bags were -- I'm sorry -- where the item was

22       in the bags.    And then notes about where the item is for

23       transport.

24       Q.    And if we could scroll I think there is a second page and

25       maybe a third page.
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1        A.    Yes.

2        Q.    And does this just show further items from the inventory?

3        A.    It does.

4        Q.    Now, at this time, did you take photographs of any items?

5        A.    I did.

6        Q.    So we can close this out.       I'd like to direct your

7        attention to Exhibit 111.

8        A.    Okay.

9        Q.    Do you recognize that exhibit?

10       A.    I do.

11       Q.    And what do you recognize that exhibit to be?

12       A.    It is a piece of paper that is a photograph of what appear

13       to be backup recovery codes for a Google Gmail account.

14       Q.    And where did that item come from that you photographed?

15       A.    It was in the luggage that Mr. Sterlingov had with him

16       when he entered the United States.

17       Q.    Does this photograph fairly and accurately represent that

18       item that you recovered from Mr. Sterlingov's luggage?

19       A.    Yes, it does.

20                    MR. BROWN:   The government moves to admit and publish

21       Exhibit 111.

22                    THE COURT:   Any objection?

23                    MR. EKELEND:    I just don't see it on the preview

24       screen right now.      There we go.

25                    MR. BROWN:   It is in the binder.
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1                     MR. EKELAND:    No objection, Your Honor.

2                     THE COURT:   Exhibit 111 is admitted and may be

3        published to the jury.

4                     (Whereupon, Exhibit No. 111 was admitted.)
5        BY MR. BROWN:
6        Q.    Mr. Price, could you explain what this item is that we are

7        looking at?

8        A.    Yes.   It is a piece of paper with a photograph on it that

9        has backup codes for a Google Gmail account, which is listed

10       under the words Google in parenthesis, Heavydist@gmail.com.

11       And it lists approximately ten backup codes for this email

12       account.

13       Q.    What is the purpose of backup codes for a Gmail account?

14       A.    Gmail and other email providers have a functionality to

15       restore your account should you lose your password and be

16       locked out.    And these codes can be used to do so.

17       Q.    And looking down at the bottom of this photograph or item,

18       is there anything that indicates what date these codes were

19       generated?

20       A.    Yes.   It states that these codes were generated on

21       August 25th, 2019.

22       Q.    How does that compare in time to the date of

23       Mr. Sterlingov's arrest?

24       A.    It is a little over a year and a half prior.

25       Q.    Directing your -- we can close that out.            I'd like to
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 83 of 123
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1        direct your attention to Exhibit 102.          Do you recognize this

2        exhibit?

3        A.    Yes, I do.

4        Q.    What do you recognize this to be?

5        A.    This is a photo I took during the inventory search of

6        Mr. Sterlingov's property of seven what appear to be portions

7        of Ikea tape measures with some writing on them and electronic

8        storage media wrapped up inside of them.

9        Q.    Does this photograph fairly and accurately represent the

10       items that you recovered from Mr. Sterlingov's luggage?

11       A.    Yes, it does.

12                    MR. BROWN:   And the government moves to admit and

13       publish Exhibit 102.

14                    THE COURT:   Any objection?

15                    MR. EKELEND:    No objection, Your Honor.

16                    THE COURT:   Exhibit 102 is admitted and may be

17       published to the jury.

18                    (Whereupon, Exhibit No. 102 was admitted.)
19       BY MR. BROWN:
20       Q.    Can you just point out relevant features of this

21       photograph?

22       A.    Yes.   So there are seven portions of paper tape measures

23       which have an Ikea logo on them and written along the various

24       measurements are words.       And then wrapped within inside these

25       tape measures that are folded were various storage media or
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24    Page 84 of 123
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1        mobile telephone SIM cards.

2        Q.    All right.     We can close that out.       Directing your

3        attention to Exhibit 103 in your binder.              Do you recognize this

4        exhibit?

5        A.    I do.

6        Q.    What do you recognize this exhibit to be?

7        A.    This is a photo I took during the inventory search of what

8        appear to be three mobile telephone SIM cards and a partially

9        broken SD storage card.

10       Q.    Does this exhibit fairly and accurately represent these

11       items that you recovered from Mr. Sterlingov's luggage?

12       A.    Yes.

13                    MR. BROWN:   The government moves to admit and publish

14       Exhibit 103?

15                    THE COURT:   Any objection?

16                    MR. EKELEND:    No objection, Your Honor.

17                    THE COURT:   Exhibit 103 is admitted and may be

18       published to the jury.

19                    (Whereupon, Exhibit No. 103 was admitted.)
20       BY MR. BROWN:
21       Q.    Mr. Price, could you point out what the three items on the

22       bottom are and explain what those are?

23       A.    The three items that I am circling are mobile telephone

24       SIM cards.    And those are cards that allow a mobile telephone

25       to talk to a mobile network.         For example, if you have a
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1        Verizon phone, you need a SIM card coded to Verizon.              If you

2        travel to Europe you need a --

3                    MR. EKELEND:     Objection, Your Honor.

4                    THE COURT:    What is the objection?

5                    MR. EKELEND:     This is 702.     This is --

6                    THE COURT:    What a SIM card is?

7                    MR. EKELAND:     What?

8                    THE COURT:    He is just asking what a --

9                    (Conference held at the bench.)

10                   MR. EKELEND:     Mr. Price is not qualified as an expert

11       on SIM cards and why SIM cards are --

12                   THE COURT:    I can actually describe what a SIM card

13       is though.

14                   MR. EKELEND:     It is not about just the SIM cards.            It

15       is about their use.      What the government is trying to elicit is

16       that somehow using multiple SIM cards, which is a very common

17       thing -- Mr. Fischbach can testify to it -- is somehow

18       sinister.    This is a fact witness.       He has now given opinion

19       about as to what these devices are used for.            We should just

20       limit this testimony to the facts of what the witness actually

21       inventoried, rather than opining on what the devices were used

22       for.   That is an expert opinion testimony.           He is not qualified

23       as an expert under 702 to discuss these.

24                   THE COURT:    The question posed was, what are those?

25       What are those?      That was the question.
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1                   MR. EKELEND:      And he started talking about the use of

2        the SIM cards in Europe, if I recall.          What our objection is --

3                   THE COURT:     If there was any reference to Europe, I

4        missed it because I didn't see or hear anything about Europe,

5        but maybe I missed it.

6                   MR. EKELEND:      Your Honor, we just ask that the

7        witness be kept to his factual personal knowledge of what he

8        seized at the airport and not opine on the uses of the SIM

9        cards or any of the devices.         This is -- keep this to fact

10       testimony and not expert testimony.          That is our objection.

11                  THE COURT:     All right.     Mr. Brown.

12                  MR. BROWN:     Your Honor, I think that simply

13       explaining what a SIM card is, falls within his lay knowledge.

14       If this were something more technical I think it would be a

15       different question.      It is really just him -- I don't think it

16       is especially technical or expert knowledge to say that SIM

17       cards are used in international travel.           He is not opining

18       these are sinister or somehow nefarious.              He is just answering

19       the question about what is a SIM card.

20                  THE COURT:     I think it is fine.         I will allow it.

21                  (End of bench conference.)

22       BY MR. BROWN:
23       Q.    Mr. Price, did you finish your answer about explaining

24       what these three items on the bottom are?

25       A.    Yes, I did.
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1        Q.    And then the item on the top, what is that?

2        A.    It appears to be a SD storage media card that is partially

3        broken.

4        Q.    What is in an SD card or storage media card?

5        A.    It is very similar to like a very small disk.              It is a

6        storage device that can be used in cameras, mobile phones, any

7        number of places.

8        Q.    We can close this out.         I'd like to direct your attention

9        to Exhibit 104.

10       A.    Okay.

11       Q.    Do you recognize this exhibit?

12       A.    Yes, I do.

13       Q.    And what does this exhibit show?

14       A.    This is another photograph that I took during the

15       inventory search depicting a leather pouch and numerous

16       electronic storage devices, SIM cards, and SIM card holders

17       that were contained within it.

18       Q.    And does this photograph fairly and accurately represent

19       some of the items that you recovered during the search of the

20       defendant's luggage?

21       A.    Yes.

22                    MR. BROWN:   The government moves to admit and publish

23       Government Exhibit 104.

24                    THE COURT:   Any objection?

25                    MR. EKELEND:    No objection, Your Honor.
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1                      THE COURT:   Exhibit 104 is admitted and may be

2        published to the jury.

3        BY MR. BROWN:
4        Q.     Mr. Price, could you point out the different categories of

5        items on this photograph?

6        A.     Yes.    The beginning on the bottom right, the black leather

7        pouch is where these item were contained above the seven

8        portions of tape measures that were previously shown in a

9        previous photo and in the center collection of SD cards, USB

10       drives and adapters to use those, as well as what appear to be

11       at least one mobile phone SIM card and the plastic holders they

12       come in.      And on the far left, cards that are typically sold in

13       retail locations that hold SIM cards.

14       Q.     And it looks like some of those cards have holes punched

15       out.   Could you explain why that may be?

16       A.     Yes.    Again, the -- you can buy these cards in Europe or

17       many locations in a store.       And you have to punch the card out

18       to put it into your phone.

19       Q.     We can close this out.        And I would like to direct your

20       attention to Exhibit 109.

21              Okay.   Do you recognize this exhibit?

22       A.     I do.

23       Q.     And what does this exhibit show?

24       A.     This shows -- this is again a photo I took what of what

25       appeared to be a mobile network modem that was found in
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1        Mr. Sterlingov's luggage during the inventory search.

2        Q.     Does this photograph fairly and accurately depict the item

3        that you recovered from the defendant's luggage?

4        A.     Yes, it does.

5                      MR. BROWN:   The government moves to admit and publish

6        109.

7                      THE COURT:   Any objection?

8                      MR. EKELEND:   No objection, Your Honor.

9                      THE COURT:   Exhibit 109 is admitted and may be

10       published to the jury.

11                     (Whereupon, Exhibit No. 109 was admitted.)
12       BY MR. BROWN:
13       Q.     Can you point out where the item is in the photo?

14       A.     Yes.    Here in the center circled, it says Live LTE on it,

15       has a series of wires protruding from it as well as four what

16       appear to be USB devices connected to it and two small

17       computing devices connected via ethernet cables.

18       Q.     Do you have an understanding of what those two small

19       computer devices are?

20       A.     Yes.    They are Raspberry Pi mini computers.

21       Q.     Directing your attention to Exhibit 108.           Mr. Price, do

22       you recognize this exhibit?

23       A.     I do.

24       Q.     What does this exhibit show?

25       A.     This is a photo I took during the inventory search of
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 90 of 123
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1        Mr. Sterlingov's luggage.       And it depicts a metal case where

2        that previously shown modem was found, as well as what appears

3        to be a large portable battery that was in that same case.

4        Q.    And does this photograph fairly and accurately depict the

5        items that were found in Mr. Sterlingov -- in the defendant's

6        luggage?

7        A.    Yes, it does.

8                     MR. BROWN:   The government moves to admit and publish

9        Exhibit 108.

10                    THE COURT:   Any objection.

11                    MR. EKELEND:    No objection, Your Honor.

12                    THE COURT:   Exhibit 108 is admitted and may be

13       published to the jury.

14                    (Whereupon, Exhibit No. 108 was admitted.)
15       BY MR. BROWN:
16       Q.    Mr. Price, could you point out -- you mentioned a case.

17       Could you point where the case is?

18       A.    Yes.   In the upper right-hand portion of the screen, it is

19       this metal looking case.       Where you can see a gloved hand and

20       an object being picked up.

21       Q.    And what, if anything, was stored in that metal case?

22       A.    The battery pictured here on the center of the table was

23       at the bottom.       And the previously shown mobile modem device

24       was sitting on top of it, along with the Raspberry Pi devices

25       and the wires inside of that box.
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1        Q.    If it is possible to zoom into the top half of this photo.

2        Is there text on that case itself?

3        A.    Yes.    It states LiveLTE.RU.

4        Q.    We can close that out.         And, finally, I would like to

5        direct your attention to Exhibit 105.           When I say finally, I

6        mean finally for this section.

7        A.    Okay.

8        Q.    Mr. Price, do you recognize Exhibit 105?

9        A.    Yes.

10       Q.    And what does Exhibit 105 show?

11       A.    It is a photograph I took during the inventory search of a

12       Raspberry Pi minicomputer in Mr. Sterlingov's luggage.

13       Q.    Does this exhibit fairly and accurately represent the item

14       that you recovered from the defendant's luggage?

15       A.    Yes.

16                    MR. BROWN:   The government moves to admit and publish

17       Exhibit 105.

18                    THE COURT:   Any objection?

19                    MR. EKELEND:    No objection, Your Honor.

20                    THE COURT:   105 is admitted and may be published.

21                    (Whereupon, Exhibit No. 105 was admitted.)
22       BY MR. BROWN:
23       Q.    Mr. Price, did you just point out any distinguishing

24       features on this item?

25       A.    Yes.    In the center is a logo of a raspberry.            It is the
     Case 1:21-cr-00399-RDM    Document 278    Filed 03/16/24   Page 92 of 123
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1        logo of Raspberry Pi.       And on the top left is what appears to

2        be plugged in through USB, a device that says Netgear WPS on

3        it.

4        Q.    We can close that out.         After finishing the inventory

5        search, what did you do with the items?

6        A.    The items were packed back into the suitcases and stored

7        at the LA IRS Los Angeles office in secure storage.               I had a

8        fight scheduled for later that evening.            I transported them

9        from the LA IRS field office.         I flew out of Los Angeles

10       International Airport to Dulles on United Airlines.               When I

11       arrived in Washington, I brought the suitcases to my

12       government-owned vehicle and transported them directly to

13       evidence storage at the IRS-CI at the Washington, DC field

14       office.

15       Q.    When you repacked the items, just to be clear, did you

16       repack it exactly as it had been packed originally?

17       A.    No.   When Mr. Sterlingov arrived in the country, US

18       Customs searched his luggage.         And they tend to throw things

19       back in the bag.      I made sure to pack them in a manner that

20       would ensure nothing was damaged or lost prior to transporting

21       them back to Washington.

22                   MR. BROWN:    Your Honor, I don't know how much farther

23       we want to continue before lunch.

24                   THE COURT:    Just give me a second.

25                   (Pause.)
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1                     THE COURT:   Why don't we go for another 15 minutes or

2        so then?

3                     MR. BROWN:   Yes, Your Honor.

4        BY MR. BROWN:
5        Q.    So what happened to the luggage after you took it to the

6        IRS evidence locker in Washington, DC?

7        A.    Upon transporting it to Washington, DC, I obtained a

8        search and seizure warrant through the US District Court here

9        in Washington, DC to search and seize items of evidence from

10       that luggage.

11       Q.    Did you personally participate in the execution of that

12       warrant?

13       A.    I did.

14       Q.    Where was the search executed?

15       A.    It was executed within the IRS-CI Washington, DC field

16       office on First Street Northeast.

17       Q.    Was this on or about April 30th, 2021?

18       A.    It was.

19       Q.    So I would like to direct your attention to Exhibit 113,

20       which I believe should be in your binder.

21       A.    Yes.

22       Q.    Do you recognize that exhibit?

23       A.    I do.

24       Q.    And what do you recognize that exhibit to be?

25       A.    This is a photo log from the search warrant.
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1        Q.    And do these photos -- were they taken by you or somebody

2        else?

3        A.    They were taken by me.

4        Q.    Do those photos fairly and accurately represent items

5        found during the execution of that search warrant?

6        A.    They do.

7                   MR. BROWN:     The government moves to admit and publish

8        Exhibit 113.

9                   THE COURT:     Any objection?

10                  MR. EKELEND:      No objection, Your Honor.

11                  THE COURT:     Exhibit 113 is admitted and may be

12       published to the jury.

13                  (Whereupon, Exhibit No. 113 was admitted.)
14       BY MR. BROWN:
15       Q.    So I'd like to -- look at the first page here.             What is on

16       the first page of this document?

17       A.    It has the date of the search, the location, the

18       photographer, which was my name, and then a list of nine photos

19       listing the location and a description of each photo.

20       Q.    And if I could, I'd like to start with very last photo and

21       then we'll come back and go in order.          What does this last

22       photo show?

23       A.    I believe this is the photo listed as number 9 on the

24       photo log.    It is the four bags after I completed the search.

25       Q.    And it appears that there are labels on the bags.                Did you
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24    Page 95 of 123
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1        create those labels?

2        A.    I did.

3        Q.    And what -- did you place those labels on the bags?

4        A.    I did.

5        Q.    What was the purpose of doing that?

6        A.    IRS search procedure is to label containers or rooms,

7        particularly for a house or in this case label containers for

8        tracking, so that I am able to keep track of where items are

9        located and record that both in photos and search warrant

10       inventory.

11       Q.    Okay.    And then moving back to the first photo in the

12       sequence.     I think is is page 2 of the document.

13       A.    Okay.

14       Q.    What does that photo show?

15       A.    This is a photo of a suitcase labeled bag A, an initial

16       photo before I opened it to complete the search and seizure.

17       Q.    If we can move to the next photo.          What does that photo

18       show?

19       A.    This is a photo of the same bag after opened, showing the

20       contents.

21       Q.    If we could move to the next photo.             What does that photo

22       show?

23       A.    This is a photo of a suitcase labeled bag B, prior to

24       opening it.

25       Q.    What does -- we can move to the next photo.             What does
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24    Page 96 of 123
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1        this photo show?

2        A.    A photo of another bag labeled bag C, prior to opening.

3        Q.    Move forward to the next photo.         What does this show?

4        A.    I believe that is of bag B, after it was opened to be

5        searched.

6        Q.    And move forward to the next photo.             What does this show?

7        A.    A photo of bag D, prior to being searched.

8        Q.    Move forward to the next photo.

9        A.    A photo of bag D when it was opened displaying the

10       contents.

11       Q.    And there appears to be a red item there.             Do you

12       recognize that red item?

13       A.    I do.

14       Q.    What is that?

15       A.    It is a red file folder containing documents, handwritten

16       notes, several other paper items.

17       Q.    And could we move to the next photo.            What does this photo

18       show?

19       A.    This is a photo of another of the bags opened showing the

20       contents.

21       Q.    And is that all of the photos or is there -- and then this

22       is the end.

23             Now, did -- during the course of the search, did you

24       actually seize certain physical items for evidence?

25       A.    I did.
     Case 1:21-cr-00399-RDM    Document 278   Filed 03/16/24   Page 97 of 123
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1        Q.    So at this point, Mr. Price, we would like to bring up a

2        series of physical items.       We have our helper here who can

3        just, with the Court's permission, stand next to you and hand

4        you items to review.

5                    THE COURT:    That is fine.

6                    MR. EKELEND:     Objection, Your Honor.

7                    THE COURT:    What is the objection?        Can we have a

8        conference?

9                    (Conference held at the bench.)

10                   MR. EKELEND:     First of all, this is cumulative

11       evidence.    We have just been through all of the photos of it.

12       Number 2, we think that the purpose of this is under 403, it is

13       more prejudicial than probative.         If the Court is going to

14       allow it, we request the same physical items be made available

15       so Mr. Fischbach can testify as to them and the government,

16       produce them for Mr. Fischbach's testimony.

17                   THE COURT:    Mr. Brown.

18                   MR. BROWN:    Your Honor, first of all, let's see what

19       the physical items are.       These are not cumulative.

20                   THE COURT:    No.   I think the only question I have is

21       whether you are prepared to make them available for the defense

22       during their testimony.

23                   MR. BROWN:    Yes, Your Honor.       Yeah, of course, we can

24       make them available to the defense.          And, Your Honor, the data

25       from I think or virtually all of the electronic devices has
     Case 1:21-cr-00399-RDM    Document 278    Filed 03/16/24   Page 98 of 123
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1        been produced to the defense long ago.            And Mr. Fischbach has

2        had months and months to review the forensic images.

3                   THE COURT:     No.   I think he is saying during his

4        testimony he would like to have them so he can testify about

5        the items as well.      I think that is all they were saying.

6                   MR. EKELEND:      Correct, Your Honor.        We want them

7        physically present just like the government is using them.

8                   THE COURT:     Okay.      Any objection?

9                   MR. BROWN:     No objection to that, Your Honor.

10                  THE COURT:     Okay.      Thanks.

11                  MR. EKELEND:      Thank you, Your Honor.

12                  THE COURT:     Otherwise then the objection is

13       overruled.

14                  (End of bench conference.)

15                  THE COURT:     You may proceed.

16       BY MR. BROWN:
17       Q.    So we can go ahead and close out Exhibit 113.

18             And then, yes, we'll have our helper here bring up the

19       physical items.

20             All right.     Mr. Price, so we'd like to hand you Exhibit

21       125, which is also marked as 1B11.

22       A.    Okay.

23       Q.    Before you do anything, do you recognize this box?

24       A.    I do.

25       Q.    And is it sealed in any way?
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1        A.     Yes.    It is sealed by evidence tape.

2        Q.     And so we are going to have you go ahead and open that up

3        right now.

4        A.     (Complying).

5                      MR. EKELEND:   Your Honor --

6                      THE COURT:   Yes.

7                      MR. EKELEND:   We are adjusting difficulty seeing what

8        Mr. Price is holding.

9                      THE COURT:   He is just opening the box.         You are

10       welcome to stand over here, if you would like to.

11                     You can just stand right there, if you like.

12                     I will tell you what, I will ask him to hold them up

13       when he takes items out, that way you can be seated.

14                     MR. EKELEND:   Thank you.     It is just the sight line.

15                     THE COURT:   No, I understand.

16       BY MR. BROWN:
17       Q.     Could you go ahead and take the item out of the box and

18       show that to the jury and to the defense?

19       A.     (Complying).

20       Q.     All right.    And you can go ahead and move the box out of

21       the way.      And could you -- it looks like there is some sort of

22       box.   Could you go ahead and open that box, container?

23       A.     (Complying).

24       Q.     Mr. Price, is this one of the items that you recovered

25       during the search of Mr. Sterlingov's luggage?
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1        A.    Yes, it is.

2        Q.    Is this item in substantially the same condition as when

3        you recovered it during the search?

4        A.    Yes, it is.

5                     MR. BROWN:    The government moves to admit and publish

6        Exhibit 125.

7                     THE COURT:    Any objection?

8                     MR. EKELEND:    No objection.        It has already been

9        published.

10                    MR. BROWN:    Yes.      I'm sorry, Your Honor, about that.

11                    THE COURT:    Exhibit 125 has been admitted.

12                    (Whereupon, Exhibit No. 125 was admitted.)
13       BY MR. BROWN:
14       Q.    Mr. Price, could you take the item out of the case and

15       show that to the jury?

16       A.    (Complying).

17       Q.    Is there text on those four sort of pieces that are

18       sticking out?

19       A.    Yes.

20       Q.    And what does that text say?

21       A.    It says Live LTE.

22       Q.    I would like to -- hold on -- keep that there.                Keep that

23       item in front of you at the witness stand.               Could you open

24       Exhibit 126, which is an envelope, 1B22.

25             I guess before showing it to the jury, do you recognize
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1        that item?

2        A.    I do.

3        Q.    And is that one of the items you recovered during the

4        search of Mr. Sterlingov's luggage?

5        A.    It is.

6        Q.    And is it in substantially the same condition as when the

7        item or items were recovered during the search?

8        A.    Yes, it is.

9                    MR. BROWN:     The government moves to admit and publish

10       Exhibit 126.

11                   THE COURT:     Any objection?

12                   MR. EKELEND:     No objection, Your Honor.

13                   (Whereupon, Exhibit No. 126 was admitted.)
14                   THE COURT:     Exhibit 126 is admitted and may be

15       published to the jury.

16       BY MR. BROWN:
17       Q.    Mr. Price, could you pull that out and show that to the

18       jury and to the defense?

19       A.    (Complying).

20       Q.    And what items have you just pulled out of that envelope?

21       A.    Two green boxes containing what appear to be mobile

22       modems.    They have Russian writing on them.

23       Q.    Could you open one of those boxes and pull out whatever

24       item is contained inside?

25             And then comparing that to the item inside the silver
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1        case, does there appear to be any relationship?

2        A.    Yes.    It appears to be one of the mobile -- similar to the

3        mobile modems attached to this device.

4        Q.    We can go ahead and put away those two exhibits.

5              Now, when Mr. Sterlingov was arrested, was he traveling

6        with any mobile phones?

7        A.    Yes.

8        Q.    How many?

9        A.    I recall there being three mobile phones.

10       Q.    We are going to ask you to look at Exhibit 135 and 136,

11       envelopes labeled 1B32 and 1B10.

12       A.    Okay.

13       Q.    And could you examine the contents of those envelopes

14       without showing them to the jury?

15       A.    Okay.

16       Q.    Are those items that you recovered during the search of

17       Mr. Sterlingov's luggage?

18       A.    Yes, they are.

19       Q.    And are those items in substantially the same condition as

20       they were when you recovered them?

21       A.    Yes.

22                    MR. BROWN:    The government moves to admit and publish

23       Exhibits 135 and 136.

24                    THE COURT:    Any objection?

25                    MR. EKELEND:    No objection, Your Honor.
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1                    THE COURT:     Exhibits 135 and Exhibit 136 are admitted

2        and may be published to the jury.

3                    (Whereupon, Exhibit No. 135, 136 were admitted.)
4        BY MR. BROWN:
5        Q.    Mr. Price, could you go ahead and take the items out of

6        those envelopes?

7        A.    This is Exhibit 135.

8        Q.    And could you describe what is -- go ahead and open the

9        inner envelope or bag.

10             Could you show that to the jury, please?

11       A.    (Complying).

12       Q.    And also show to the defense, please.            Thank you.

13             And what item or items do those appear to be?

14       A.    It is a Samsung mobile phone, a hard case for a Samsung

15       Galaxy S8 phone with a couple of attachments to it, a mobile

16       phone SIM card and an attachment with a keyboard that appears

17       to go on the phone.

18       Q.    And then go ahead and put those back in the envelope.

19             And could you pull out the item or items in Exhibit 136

20       and show those to the jury and defense, please?

21       A.    (Complying).

22       Q.    And what do these items appear to be?

23       A.    Two Samsung mobile phones, one blue in color, one in pink

24       or rose gold color.

25       Q.    And go ahead and put those back.
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1              Now, we would like you to take a look at Exhibit --

2                    THE COURT:     Is this a good breaking point?

3                    MR. BROWN:     Yes, Your Honor.      This will go on.

4                    THE COURT:     So it is 12:30 now, folks.          Why don't we

5        take our lunch break.       I have got to do a short hearing on

6        another matter.      And so instead of coming back at 1:30, let's

7        come back at 1:45.       And I will remind you, don't discuss the

8        case with anybody and don't conduct any type of research and

9        make sure you steer clear of anyone in the courtroom here, just

10       so you don't overhear any discussion in the hallway.                Have a

11       nice lunch.

12                   (Jury out at 12:30 p.m.)

13                   THE COURT:     All right.    Mr. Price, you are welcome to

14       get your lunch as well and don't discuss your testimony with

15       anybody.

16                   THE WITNESS:     Yes, Your Honor.         Thank you.

17                   THE COURT:     All right.    So with respect to the

18       Miranda issue, if you all want to do some quick research, what

19       I am curious about is whether there are any cases dealing with

20       Customs and Border Patrol when somebody is arriving in the

21       United States and they are subject to a screening or a

22       secondary screening and they are questioned, whether that

23       constitutes custody.       You know, obviously, it is not so easy to

24       get back on the plane and go back to wherever you came from,

25       although conceivable.
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1                    But what I am really wondering about is that Miranda

2        is based on the sort of inherently coercive context of being in

3        a jailhouse or in police custody.          It is not clear to me

4        whether the same analysis applies at the border.               But I am

5        curious if anyone has found anything on that or you have the

6        lunch break to see if you can find any authority for me.

7                    Yes, Mr. Brown.

8                    MR. BROWN:     Yes, Your Honor.      My colleague actually

9        pulled up the case of United States versus Ozuna, which is 170

10       F.3d 654, pin site 658 to 59.         And that is a Sixth Circuit case

11       from 1999.    And the gist of it is courts have consistently held

12       that Miranda warnings need not precede initial routine

13       questioning by immigration or customs officials, because such

14       questioning is not custodial interrogation.              And the --

15                   THE COURT:     One question I have is -- I maybe know a

16       little bit more about what happened here.             But there may be a

17       difference here between when you walk up to the booth and there

18       is the immigration official at the booth who says, why are you

19       here?    And you say, I am on vacation versus him saying, okay,

20       we want to bring you into another room and have some follow-up

21       questions when you are in a closed room.              I don't know the

22       circumstances here and I don't know the circumstances in that

23       case.

24                   MR. BROWN:     Yes, Your Honor.      And it appears that

25       part of the reasoning in part it is the limited duration of the
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1        encounter, but really more than that.             It is the limited scope

2        of the questioning, that it is routine questioning to determine

3        identity, citizenship.       And I think we can preview for the

4        Court that Mr. Price's testimony would be that -- and the

5        defense has, you know, the entire arrest report.                  They know

6        exactly what was said.       These are really questions that go

7        towards identity and purpose of travel.                 It doesn't go beyond

8        that.

9                    THE COURT:     Right.     But so what was the question?               Or

10       what would he have said in response to the question you were

11       going to pose?

12                   MR. BROWN:     So, Your Honor, I think he would have

13       said that Mr. Sterlingov expressed some statements about the

14       purpose of his travel that were vague, but that he did indicate

15       he was going to -- actually, hold on.

16                   Yes, Your Honor.         I think he would have -- he was

17       asked about the purpose of his travel.             And I am -- I think the

18       response is that Mr. Sterlingov was relatively vague about the

19       purpose of his travel.       I need to review --

20                   THE COURT:     We can come back to this after the lunch

21       break if you want to look into it a little bit.

22                   MR. BROWN:     And then the other question is, was there

23       a question about Mr. Sterlingov's email address.                  And there was

24       an answer there which was the Heavydist@Gmail.com.

25                   THE COURT:     I'm sorry.      Say that again.
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1                    MR. BROWN:     He was also asked about his email address

2        and the answer was that Heavydist@gmail.com email address,

3        which I don't think is in dispute.

4                    THE COURT:     My recollection is in his opening

5        statement, Mr. Ekeland said they don't dispute that is

6        Mr. Sterlingov's email address.

7                    MR. BROWN:     Yes.      Just one other question would be

8        what, if anything, Mr. Sterlingov said about his employment.

9        And I think the answer was he was -- he is a freelancer.

10                   THE COURT:     All right.      I will give you all the lunch

11       break to look into this and then we can talk about it

12       afterwards.

13                   MR. BROWN:     Thank you, Your Honor.

14                   THE COURT:     Thank you.

15                   (Recess taken at 12:35 p.m.)

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1                                  C E R T I F I C A T E
2

3                    I, SHERRY LINDSAY, Official Court Reporter, certify
4        that the foregoing constitutes a true and correct transcript of
5        the record of proceedings in the above-entitled matter.
6

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10                                    Dated this 15th day of February, 2024.
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12                                    ________________________
                                      Sherry Lindsay, RPR
13                                    Official Court Reporter
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